Case 7:17-cv-09424-CS Document 14

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") ORIGINAL

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,
ex rel, INTEGRA MED ANALYTICS LLC,

Plaintiff,
¥.

ISAAC LAUFER,
MONTCLAIR CARE CENTER, INC.,
EAST ROCKAWAY CENTER LLC,
EXCEL AT WOODBURY FOR
REHABILITATION AND NURSING,
LLC,

LONG ISLAND CARE CENTER INC.,
TREETOPS REHABILITATION & CARE,
SUTTON PARK CENTER FOR NURSING
& REHABILITATION, LLC,

8. SUFFOLK RESTORATIVE THERAPY &
NURSING, LLC,

OASIS REHABILITATION AND
NURSING, LLC, and

10. FOREST MANOR CARE CENTER, INC,

Defendants.

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Case No.:
ORIGINAL COMPLAINT

CASE FILED UNDER SEAL
PURSUANT TO 31 U.S.C, § 3730

 
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This is an action brought by Plaintiff/Relator Integra Med Analytics LLC (“Relator”) on
behalf of the United States of America pursuant to the Federal False Claims Act, 31 U.S.C. § 3729,
et seq. In support thereof, Relator alleges as follows:

I. INTRODUCTION

l. Relator brings this action to recover more than $129.15 million paid by Medicare
and Medicaid to a network of skilled nursing facilities that fraudulently and systematically charged
for excessive rehabilitation services.

2. The Defendant facilities are a large network of New York skilled nursing facilities
(“SNFs”) owned and/or operated by Isaac Laufer (collectively, “Defendants”).! The Laufer
facilities systematically provided patients excessive and unnecessary rehabilitation services, and
then fraudulently obtained reimbursement for those services from both Medicare and Medicaid.

3. Between 2011 and 2016, The Laufer facilities received approximately $450 million
in Medicare reimbursements for skilled nursing care, and received an estimated $14 million more
from Medicaid as coinsurance on Medicare SNF claims. Like all SNFs, Medicare compensated
the Laufer facilities according to the quantity of therapy provided to its patients, and Medicaid
covered the required copayments for dual-enrolled patients. Thus, increasing the quantity of a
patient’s therapy leads to a higher per-diem reimbursement from Medicare, and excessive lengths
of stay leads to higher copayments from Medicaid. Through its proprietary methodology, Relator
has uncovered that Defendants fraudulently billed Medicare and Medicaid for unnecessary and
unreasonable “Ultra High Rehab”—the most intensive therapy provided by SNFs—and also kept

patients in Ultra High Rehab longer than necessary.”

 

! Laufer owns and/or operates 9 SNFs. Throughout this complaint, these 9 facilities are often referred to as ihe Laufer
facilities.

? To be conservative, only the cases with excessive Ultra High Rehab have been identified herein as fraudulent, even
though Laufer’s excessive billing stretched across every level of rehabilitation services.

1

 
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4, There is no legitimate explanation for the Laufer facilities’ excessive use of Ultra
High Rehab. The Laufer facilities provided excessive Ultra High Rehab to patients diagnosed with
conditions across 57 principal diagnosis groups, and the probability that this occurred due to
random chance is less than | in 100 million. Analyzing it at the facility level, each defendant SNF
billed such an excessive amount of Ultra High Rehab that the probability so many facilities are
random outliers is also less than 1 in 100 million. In other words, the Laufer facilities’ excessive
use of Ultra High Rehab is a deliberate, system-wide practice, not the practice of a few rogue
facilities.

5. Relator uncovered the nature and extent of the Laufer facilities’ fraud using causal
econometric methods, These methods rule out alternative explanations and characteristics that
could potentially explain the observed patterns, and confirm that the observed excessive billing for
Ultra High Rehab is the result of a centralized and concerted effort by the Laufer facilities to
fraudulently maximize Medicare and Medicaid revenue.

6. First, Relator’s analysis shows that Laufer facility patients saw a sudden drop in
Ultra High Rehab after staying in Laufer facilities for 60, 90, or 100 days—the exact points at
which assessments are submitted to the Centers for Medicare & Medicaid Services (“CMS”) or
the point at which the Medicare benefit runs out. In other words, the Laufer facilities are
intentionally providing unnecessary Ultra High Rehab up until the very day it would have to justify
that rehab to CMS. Tellingly, the Laufer facilities administer Ultra High Rehab for exactly 60, 90,
or 100 days at 5.8 times the rate of other facilities. Thus, there is a dramatic drop in Laufer facility
patients receiving Ultra High Rehab after days 60, 90, and 100 that you do not see at most facilities.
Causal econometric methods show that the probability that this drop is random is less than 1 in

100 million.

 
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7. Second, Relator’s fixed-effect regression model rules out the possibility that
specific patient characteristics and symptoms justify Laufer facility patients’ need for Ultra High
Rehab, The regression allowed Relator to isolate the amount of additional Ultra High Rehab a
patient received just by being admitted to a Laufer facility, after controlling for the patients’
demographics and medical factors. This analysis further shows that Laufer facility patients are not
receiving Ultra High Rehab because of medical need, but rather because of the Laufer facilities’
fraudulent billing practices.

8. Third, when Laufer acquired two SNFs in 2013, Relator found a statistically and
economically significant increase in the amount of Ultra High Rehab provided to patients at those
facilities after the acquisitions occurred. This increase is highly significant even after controlling
for potential changes in patient and demographic characteristics after the acquisition, which
indicates that it is Laufer that is responsible for the excessive Ultra High Rehab that was billed to
Medicare.

9. Fourth, Relator’s analysis further uncovered that when the exact same physician
has patients at both Laufer facilities and other facilities, the physician’s Laufer facility patients
receive significantly more intensive rehab. In other words, Laufer facilities—rather than doctors—
drive their patients’ unnecessary Ultra High Rehab. Moreover, the large statistical significance of
this effect demonstrates that it is a system-wide and profit-maximizing directive by Laufer
facilities to provide excessive rehab.

10. ‘Fifth, Relator analyzed patients receiving care at both Laufer facilities and other
facilities to rule out that the Ultra High Rehab was due to unique uncontrolled-for patient
characteristics at Laufer facilities. Relator’s analysis confirmed that such patients received

significantly more Ultra High Rehab at Laufer facilities.

 
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11. ‘In short, Relator has determined Laufer facilities have and continue to engage tn
fraudulent billing to Medicare and Medicaid for both excessive and unnecessary Ultra High Rehab.
Through their fraudulent practices, between 2011 and 2016, Laufer facilities submitted more than
$129.15 million in false claims for Medicare reimbursement and additional false claims for
reimbursement from Medicaid in an amount to be proven at trial.?

Il. JURISDICTION AND VENUE

12. This Court has jurisdiction over this action pursuant to 31 U.S.C. § 3732(a) and 28
U.S.C. § 1331.

13. | Venue is proper in this District under 31 U.S.C. § 3732(a) and 28 U.S.C. § 1391(b)
and (c). During the relevant time period, a substantial portion of the events complained of that
gave rise to Plaintiff's claims occurred in this District in violation of 31 U.S.C, § 3729 and § 3730.
Further, 31 U.S.C. § 3732(a) provides for nationwide service of process.

14.‘ There has been no public disclosure of the allegations herein. To the extent that
there has been a public disclosure unknown to Relator, Relator is an “original source” under 31
U.S.C. § 3730(e)(4). Relator has direct and independent knowledge of the information on which
the allegations are based and voluntarily provided the information to the Government before filing
this gui fam action based on that information. See 31 U.S.C. § 3730(e)(4).

II. PARTIES

15. — Relator Integra Med Analytics LLC is a Texas limited liability company with its
principal place of business in Austin, Texas.
16. Relator is an associated company of Integra Research Group LLC, which

specializes in using statistical analysis to uncover and prove fraud. Integra Research Group LLC’s

 

> The Laufer facilities’ false claims to Medicaid arise from coinsurance payments for Medicare patients that were dual
enrolled in Medicaid. If the Laufer facilities’ Medicare patients were dual enrolled in Medicaid at a similar rate to
county-level averages, Relator estimates that the Laufer facilities submitted approximately $4.16 million to Medicaid.

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sister company, Integra REC LLC, has extensive experience using statistical analysis to detect and
prove fraud, specifically in mortgage-backed securities and other financial markets. Integra REC
LLC has successfully initiated and settled cases under the False Claims Act.

17. Defendant Isaac Laufer owns, operates, and/or controls the Defendant facilities. He
is a resident of Orange County, New York. Upon information and belief, Laufer may be served at
120 Strawberry Lane, Newburgh, New York 12550.

18. Defendant Montclair Care Center, Inc. (“Montclair”) is a New York corporation
located at 2 Medical Plaza, Glen Cove New York 11542. Montclair is an SNF with the assigned
National Provider Identifier (“NPT”) number 1639234149.4

19. Defendant East Rockaway Center LLC (“East Rockaway”) is a New York limited
liability company located at 243 Atlantic Avenue, Lynbrook, New York 11563. East Rockaway is
an SNF with the assigned NPI number 1265724298.

20. Defendant Excel at Woodbury for Rehabilitation and Nursing, LLC (“Excel”) is a
New York limited liability company located at 8533 Jericho Turnpike, Woodbury, New York
11797. Excel is an SNF with the assigned NPI number 1376989376.

21. Defendant Long Island Care Center, Inc. (“Long Island”) is a New York
corporation located at 144-61 38th Avenue, Flushing, New York 11354. Long Island is an SNF
with the assigned NPI number 1780661785.

22. Defendant Treetops Rehabilitation & Care Center LLC (“Treetops”) is a New York
limited liability company located at 3550 Lexington Avenue, Mohegan Lake, New York 10547.

Treetops is an SNF with the assigned NPI number 1427100064.

 

4 An NPI number is a unique identification number assigned to heaith care providers by the Centers for Medicare and

Medicaid Services (“CMS”).
5

 
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23. Defendant Sutton Park Center for Nursing & Rehabilitation LLC (‘Sutton Park”)
is a New York limited liability company located at 31 Lockwood Avenue, New Rochelle, New
York 10801. Sutton Park is an SNF with the assigned NPI number 1376788513.

24. Defendant Suffolk Restorative Therapy & Nursing LLC (“Suffolk”) is a New York
limited liability company located at 340 East Montauk Highway, East Islip, New York 11730,
Suffolk is an SNF with the assigned NPI number 1508167230.

25. Defendant Oasis Rehabilitation and Nursing, LLC (“Oasis”) is a New York limited
liability company located at 6 Frowein Road, Center Moriches, New York 11934, Oasis is an SNF
with the assigned NPI number 1316360845.

26. Defendant Forest Manor Care Center, Inc. (“Forest Manor”) is a New York
corporation located at 6 Medical Plaza, Glen Clove, New York 11542. Forest Manor is an SNF
with the assigned NPI number 1366438418.

IV. SUBSTANTIVE ALLEGATIONS
A. Overview of Medicare Reimbursement for Skilled Nursing Rehab

27. SNFs are designed to provide skilled care, including nursing and rehabilitation
services, following an inpatient hospital stay. To be eligible for Medicare benefits for SNFs, a
beneficiary must have an inpatient hospital stay of at least three days. Medicare will cover up to
100 days of SNF care per illness, and beginning on the 21st day of skilled nursing care, the
beneficiary is responsible for a daily copayment of approximately $150.° This copayment may be
covered by another form of insurance, including Medicaid.

28. Medicare reimburses SNFs at a per-diem rate based on one of 66 resource

utilization groups (“RUGs”), which is determined by the amount of therapy and other services

 

5 See, e.g., Medpac, SNF Services Payment System at 1 (Oct. 2015), available at https://goo.gl/n3FA1p. The average
daily coinsurance for SNFs from 2011 through 2016 was $150.75.

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provided to patients. The RUGs can further be simplified into a few categories based on the amount
of rehab provided. The highest category, referred to as Ultra High Rehab, is for patients receiving
more than 720 minutes of rehab in a week. The lowest category, referred to as Low Rehab,
represents patients receiving between 45 and 149 minutes of rehab per week. There are also
patients who receive less than 45 minutes of rehab per week, but receive other types of skilled
nursing services, which Relator has categorized as No Rehab. The highest categories of rehab are
reimbursed at a higher rate than the lower categories of rehab, with the categories being
differentiated based only on the quantity of rehab provided per week. Within each therapy
category, the payment can vary for individual RUGs based on a patient assessment and other
services provided. Relator’s analysis focuses solely on the quantity of rehab provided.® These
broad SNF RUG reimbursement categories are included in Table 1 below.

Table 1. Broad SNF RUG categories.
The following table shows the SNF categories based on the required weekly therapy amounts. Physical therapy,
occupational therapy, and speech pathology all count towards the required therapy amounts.

 

Category Therapy Amount

Ultra High Rehab 720+ minutes per week

Very High Rehab 500 — 720 minutes per week
High Rehab 325 —499 minutes per week
Medium Rehab 150 — 324 minutes per week
Low Rehab 45 — 150 minutes per week

No Rehab Less than 45 minutes per week

29. To receive Medicare coverage for skilled nursing services, the patient must be
covered under Medicare Part A, have a qualifying inpatient hospital stay, and require skilled
services to be provided for an ongoing condition treated during the hospital stay or a new condition
acquired since the beneficiary started receiving skilled nursing care.’ Additionally, the skilled

services must be reasonable and necessary for the diagnosis or treatment of the condition.*®

 

§ See generally id.

7 See Centers for Medicare and Medicaid Services, Medicare Coverage of Skilled Nursing Facility Care 17
Gan. 2015), available at https://goo.gl/Ms63mQ.

8 Id. at 18.

 
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30. A series of assessments are required to determine the reasonableness and necessity
of skilled services provided, including the amount of rehab provided and consequently the resource
utilization group and corresponding per-diem reimbursement amount. Daily assessments are
conducted by staff at the SNF and these assessments must be periodically recorded and submitted
to CMS. The initial assessment must be submitted to CMS within 8 days, and subsequent recorded
assessments must be done on days 14, 30, 60, and 90 days.’ Additional assessments are required
when necessary to account for significant changes in the patient’s condition.'° These assessments
are typically coordinated by a registered nurse at the SNF, along with the participation of other
healthcare professionals;'' the patient’s plan of care is ultimately determined by a doctor’s orders
and the results of these reported assessments. ””

31. | By increasing the quantity of rehab provided, without otherwise changing any other
care to a patient, an SNF can move the patient’s claim to a higher RUG category and therefore get
a higher pre-diem payment amount. For example, the RUGs in the category for Ultra High Rehab
pay anywhere between $500 and $785 per day, depending on other patient characteristics and
services provided. Care for patients in the lower category of Medium Rehab is reimbursed from
$300 to $580 per day, depending on patient characteristics and services provided. Therefore, even
just reclassifying patients from the Medium category to the Ultra High category would typically

yield an extra $200 per day per patient.'* Treating patients for Ultra High Rehab when the patient

 

9 fd. at 25.

10 Fa.

'l See Centers for Medicare and Medicaid Services, Mfedicare-Required SNF PPS Assessments (Oct. 2016), available
at https://goo.g]/DtDK4e.

12 Te.

4 The SNF per-diem reimbursement amount is further adjusted based on the facility’s location to reflect the additional
cost incurred in some metropolitan areas. Relator has ignored those adjustments in order to focus on the marginal
revenue that is attributed solely to its increased use of Ultra High Rehab. Accounting for these adjustments would
only increase the marginal revenue Laufer facilities receive through its excessive billing of Ultra High Rehab.

 
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no longer requires any skilled nursing services would yield an additional $580 a day on average.
Thus, systems like the Laufer facilities have an economic incentive to push for more rehab
treatment beyond what is considered medically reasonable or necessary.

B. Relator’s Methodologies

32. To detect patterns of fraud at Laufer facilities, Relator employed unique algorithms
and statistical processes fo analyze SNF Medicare claims data obtained from CMS.'* These
proprietary methods have allowed Relator to identify with specificity the false claims made by the
Defendant to fraudulently inflate revenue on Medicare claims. Relator’s analysis focused on_
identifying excessive amounts of Ultra High Rehab beyond what would be considered reasonable
or beneficial to patients given a particular illness, including instances where the patients no longer
required any skilled nursing care.

33. To identify truly egregious patterns of excessive Ultra High Rehab, Relator
employed a methodology that accounts for patient medical characteristics in determining the
necessity of rehab. Specifically, Relator compared the rate of Ultra High therapy provided at
Laufer facilities to the rate of Ultra High therapy provided at other SNFs for patients with
comparable principal diagnosis codes at their prior inpatient hospital stay. This benchmarking
process is consistent with Medicare guidelines requiring that skilled nursing services be reasonable

and necessary for the treatment of the specific medical condition.’

 

44 Only claims for patients admitted on or after January 1, 2011, and prior to October 1, 2016, were analyzed by the
Relator to allow for analysis of the patient’s entire length of stay. Relator also analyzed the associated inpatient hospital
claims data from CMS for the SNF patients.

'5 See Centers for Medicare and Medicaid Services, Medicare Coverage of Skilled Nursing Facility Care at 18 (Jan.
2015), available at htips://goo.gl/Ms63mQ.

 
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34. To conduct its analysis, Relator formed 589 groupings (or “bins”’) of similar
principal diagnosis codes, of which 57 were relevant to Laufer facilities’ claims.'® Within each of
the bins Relator compared the average days of Ultra High Rehab at Laufer facilities to the average
days of Ultra High Rehab billed at all other SNFs receiving Medicare reimbursements as a
benchmark. While Relator’s precise benchmarking of medical billing is unique, experts have
developed and applied similar benchmarks in financial return literature.'’? Benchmarking has the
advantage of allowing for very specific and comparative groupings. This avoids imposing specific
linearity on the data, which in turn gives Relator’s methodology more statistical power and
precision.

35. Given that some natural variation in days of Ultra High Rehab among SNFs is
expected, Relator used two filters to further ensure that it identified truly extremely abnormal
usage. First, bins were only included where Laufer facilities’ days of Ultra High Rehab were either
more than twice the national rate or were five days longer than at other facilities. Second, Relator
validated the results of its analysis by determining the statistical significance of each pattern used
by Laufer facilities.'* Relator only flagged claim groupings where there was less than a 7 in 1,000
chance of Relator’s findings being due to chance.

36. For example, Laufer facilities have many patients that were diagnosed with

“Unspecified Septicemia”’’ during their preceding inpatient hospital stay. Relator has found that,

 

16 Relator included in the analysis any principal diagnosis categories that were used at least 100 times by Laufer
facilities.

'? See the widely-used methodology developed by Kent Daniel, Mark Grinblatt, Sheridan Titman, Russ Wermers,
Measuring Mutual Fund Performance with Characteristic- Based Benchmarks, The Journal of Finance, vol. 52(3)
at 1035-1058 (1997). This methodology is first applied to measuring hedge-fund performance by John M. Griffin
and Jin Xu, How Smart Are the Smart Guys? A Unique View from Hedge Fund Stock Holdings, Review of Financial
Studies, Vol. 22.7 at 2531-2570 (2009),

'8 Relator’s statistical significance is calculated by comparing the mean days of Ultra High Rehab at Laufer versus
other facilities.

'9 Unspecified Septicemia includes ICD-9 diagnosis codes 0388, 0389, 449, 77181, 7907, 99591, and 99592.
16

 
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of Laufer facilities’ 1,380 admissions with “Unspecified Septicemia,” the average patient received
25.01 days of Ultra High Rehab. However, for the more than 700,000 patients admitted with
“Unspecified Septicemia” at the nation’s other SNFs, the average patient only received 12.47 days
of Ultra High Rehab. In other words, Laufer facility patients received twice as much Ultra High
Rehab at an average cost of $580 per day.

37. To control for other explanations for the additional therapy billed at Laufer
facilities, Relator employed a fixed effect linear regression model with additional controls for
patient characteristics. Regression analysis is well-established and has been used to pinpoint actors
behind misreporting in financial and economic contexts.”” The fixed effect linear regression
analysis thus examines if Laufer facilities gave Ultra High Rehab beyond what could be explained
by diagnosis and patient characteristics. Through the regression, Relator isolated the amount of
additional Ultra High Rehab a patient received just because of Laufer facility characteristics, since
it controls for a variety of patient characteristics including age, gender, and race, as well as county
demographic factors such as the unemployment rate, log median income, and urban-rural
differences. Patient health characteristics and severity of illness are controlled by variables
including the principal and secondary diagnosis codes of the patient’s prior inpatient hospital visit,
the existence of surgery, and the inpatient claim length of stay. This analysis again shows that the
Ultra High Rehab being offered at Laufer facilities is well outside acceptable norms, even after
accounting for patient need.

38. Additional analyses performed by Relator rule out alternative explanations for why

Laufer facilities had an excessive amount of Ultra High Rehab, Relator ruled out that the excessive

 

20 Tomasz Piskorski, Ainit Seru, and James Witkin, Asse? Quality Misrepresentation by Financial Intermediaries:
Evidence from the RMBS Market, The Journal of Finance, Vol. 70.6 at 2635-2678 (2015); John M. Griffin and
Gonzalo Maturana, Whe Facilitated Misreporting in Seeuritized Loans?, Review of Financial Studies, Vol. 29.2 at
384-419 (2016).

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Ultra High Rehab was caused by the attending physician at the SNF or the attending physician
during the patient’s inpatient hospital stay. Indeed, physicians treating both Laufer facility patients
and patients at other facilities had a much lower level of rehab at other facilities, indicating that it
is Laufer facilities rather than doctors driving Ultra High rehab treatment. Relator also analyzed
patients that received care at both Laufer facilities and at other facilities to rule out that the
excessive Ultra High Rehab was due to unique patient populations at Laufer facilities. After
considering these factors, Relator shows that the cause of the excessive Ultra High Rehab can be
attributed to Laufer facilities directly.

Cc. Defendants’ False Claims
1. Laufer Facilities’ False Claims for Reimbursement

A. Laufer Facilities Consistently Use Excessive Ultra High Rehab
Across 57 Principal Diagnosis Groups

39. Laufer facilities fraudulently and consistently billed for excessive rates of Ultra
High Rehab. To establish this finding, Relator assesses patients’ medical need for rehab by
categorizing patients according to 57 specific medical bins that are grouped by the principal
diagnosis during the hospital stay prior to their admission to an SNF. Within each bin of patients
with the same inpatient principal diagnosis, Relator compared Laufer facilities’ rate of Ultra High
Rehab to the rate of Ultra High Rehab at other facilities. For example, nationwide, the average
patient with “Pneumonia; Organism Unspecified” will end up receiving approximately 12 days of
Ultra High Rehab, whereas the average patient with “Fracture of Neck of Femur (hip)” will end
up receiving approximately 21 days of Ultra High Rehab. Relator’s method accounts for the
expectation that certain diagnoses might require greater amounts of Ultra High Rehab on average.

40. The bin-based comparison of the rate of Ultra High Rehab at Laufer facilities versus
at other facilities demonstrates Laufer facilities’ systematic effort to excessively bill Medicare for

Ultra High Rehab. Panel A of Figure | shows rates of Ultra High Rehab at Laufer facilities on the

12

 
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x-axis (horizontal) and the rates of Ultra High Rehab at all other SNFs on the y-axis (vertical).
Each dot in Panel A represents a principal diagnosis code group (bin) that Laufer facility patients
had at their prior inpatient hospital stay. The size of the dots is proportional to the number of claims
at Laufer facilities, so that larger dots represent proportionally more claims. If the rates of Ultra
High Rehab at Laufer facilities for each diagnosis code were similar to the rates at other SNFs,
then the dots would cluster on the 45-degree line. In Panel A, the red dots to the right of the 45-
degree line show that Laufer facilities had higher rates of Ultra High Rehab for patients in everp
single one of S7 inpatient principal diagnosis groups. The graph demonstrates that Laufer
facilities’ use of Ultra High Rehab is not due to having sicker patients, but rather is widespread
even after controlling for patient’s hospital diagnosis prior to admission to an SNF. Additionally,
Relator determined that the excess amount of Ultra High Rehab for patients of all 57 inpatient
principal diagnosis groups was statistically significant. Each group had a less than | in 1,000
chance the difference in average Ultra High Rehab was due to chance.

41. Panel B of Figure 1 shows the distribution of the number of days of Ultra High
Rehab administered to patients for all principal diagnosis codes, with Laufer facilities in red and
other facilities in blue. For other facilities, the number of days of Ultra High Rehab peaks at day
12.82, indicating that most patients at other facilities receive on average 12.82 days of rehab and
very few receive more than 25. However, for Laufer facilities, the distribution is shifted
significantly to the right, peaking at 30.56 days of Ultra High Rehab. This also shows that Laufer
facilities have many more days of Ultra High Rehab across the principal diagnosis categories
spectrum when compared to patients with the same principal diagnosis categories at non-Laufer
facilities.

42. Thus, Laufer facilities do not specialize in providing Ultra High Rehab to particular

types of patients with particular illnesses, but instead bill for excessive Ultra High Rehab

13

 
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indiscriminately across all of the patient diagnoses it sees. The probability that random chance
accounts for Laufer facilities’ higher days of Ultra High Rehab relative to other facilities for all 57
inpatient diagnosis groups is less than 1 in 100 million, strongly indicating the amount of rehab

provided was not anywhere close to the norms of medical practice.

14

 
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Figure 1. Average Days of Ultra High Rehab Based on Inpatient Principal Diagnosis for Laufer Facilities

Versus Other Facilities.

Panel A shows, for 57 inpatient principal diagnoses (each represented by a dot), the average Ultra High Rehab
treatment length for patients thus diagnosed at Laufer facilities versus at non-Laufer facilities. We include only
diagnoses where at least 100 patients were thus diagnosed at Laufer facilities. Panel B shows the distribution of
average days of Ultra High Rehab at Laufer facilities. versus at non-Laufer facilities for each of the principal diagnosis

groups.

Panel A: Scatterplot of Average Ultra High Rehab by Inpatient Principal Diagnosis

Mean Days of Ultra High Rehab at Other Facilities

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Mean Days of Ultra High Rehab at Laufer Facilities

(@|Higher Ultra High Rehab at Laufer Facilities

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Panel B: Distribution of Average Days of Ulira High Rehab by Principal Diagnosis

0.16

 

0.12 ----—

 

 

 

0.04 ---—

 

 

 

 

 

Mean Days of Ultra High Rehab

MiLaufer Facilities fl Non-Laufer Facilities

43. Figure 2 below shows the top 20 inpatient diagnoses for patients who receive skilled
nursing services at Laufer facilities. The amount of days at Ultra High Rehab for Laufer facilities
is the red bar and the amount of days of Ultra High Rehab for all other SNFs are the blue bars. The
graph shows that Laufer facilities use Ultra High Rehab across aff 20 most common principal

diagnosis categories at a much greater rate than other SNFs.

16

 
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Figure 2, Rate of Ultra High Rehab for patients with the 20 most common inpatient principal diagnosis
categories.

The following figure shows the twenty most prevalent inpatient diagnosis codes and compares the average days of
Ultra High Rehab at Laufer facilities versus other facilities. The diagnosis codes are ordered by the frequency with
which they occur at Laufer facilities, from most common to least common. For example, Unspecified Septicemia is
the est common principal diagnosis code from the inpatient stay, occurring in 1,380 claims at Laufer facilities.

    

 

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Average Ultra High Rehab Days
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Last Inpatient Principal Diagnosis Category

Laufer Facilities Non-Laufer Facilities

44. _— To illustrate Laufer facilities’ excessive Ultra High Rehab, Laufer facilities had
1,027 patients diagnosed with “Other Diseases of the Digestive System” during their inpatient
hospital stay prior to admission. These patients on average received 30.87 days of Ultra High
Rehab at Laufer facilities. However, patients at other SNFs who were diagnosed with “Other
Diseases of the Digestive System” only received 12.59 days of Ultra High Rehab on average.

45, Table 2 provides a detailed comparison of the rate of Ultra High Rehab across all
of the 57 principal diagnosis codes, and demonstrates again how Laufer facilities provide
significantly more Ultra High Rehab than do other SNFs. The difference between Ultra High

Rehab usage at Laufer facilities and at the other facilities within each principal diagnosis grouping

17

 
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is extremely statistically significant, such that the probability that each of these differences could

be due to random chance is less than one in 100 million for most principal diagnosis groupings.”

Table 2. Ultra High Rehab by Principal Diagnosis Code Group.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Avg. Days Avg. Days of Laufer
# of Ultra : Facility tas
so. . . woe . Ultra High . Statistical
Principal Diagnosis Group | Admissions High at Rate . ”
at Other ' Significance
Laufer Laufer Facilities Relative to
Facilities Others
Unspecified Septicemia 1380 25.01 12.47 201% <1 in 100 Million
Other Diseases of the 1132 32.11 14.86 216% < J in 100 Million
Circulatory System
Other Diseases of the Digestive 1027 30.87 12.59 245% <1 in 100 Million
Sysiem
Other Injury and Poisoning 860 38.41 16.53 232% <1 in 100 Million
Osteoarthiritis; Localized 856 22.51 12,43 181% <1 in 100 Million
Fracture of Neck of Femur (hip) 735 44.76 21.21 211% < | in 100 Million
Other Neoplasms 598 25,68 9.92 259% < 1 in 100 Million
Congestive Heart Failure; 589 32.23 12.51 258% <1 in 100 Million
Nonhypertensive
Other Diseases of the
Musculoskeletal System and 533 36.14 14.36 252% <1 in 100 Million
Connective Tissue
Urinary Tract Infection; Site 524 35.45 15.18 234% <1 in 100 Million
Not Specified
Other Endocrine; Nutritional;
and Metabolic Diseases and 523 35,26 13.92 253% <1 in 100 Million
Immunity Disorders
Pheumonia; Organism 503 31.21 12.33 253% <1 in 100 Million
Unspecified
Rehabilitation Care; Fitting of
Prostheses; and Adjustment of 482 41.91 26.56 158% <1 in 100 Million
Devices
Acule Renal Failure 473 33.65 14,32 235% <1 in 100 Million
Occlusion of Cerebral Arteries 386 37.77 22,12 171% <1 in 100 Million
Other Diseases of the 380 29.36 12.59 233% <1 in 100 Million
Respiratory System
Delirium Dementia and
Amnestic and Other Cognitive 357 35.42 15.18 233% <1 in 100 Million
Disorders
Other Diseases of the Nervous 350 38.37 16.94 227% <1 in 100 Million
System and Sense Organs
Obstructive Chronic Bronchitis 322 33.71 12.04 280% < bin 100 Million
Acute Myocardial Infarction 265 30,87 12.65 244% <1 in 100 Million

 

 

 

 

 

 

 

 

 

21 The probability is even considerably smaller in many cases, often less than 1 in 1 Trillion, but we use this as a cutoff
since the value is already incredibly small. All tests are under the two-sample z-test to compare the average days of
Ultra High Rehab at other facilities to Laufer facilities’ average days of Ultra High Rehab. This test relies on a standard

normal distribution.

2 The statistical significance of these represents the probability that the difference between the average days of Ultra

High Rehab at Laufer facilities and other facilities is due to random occurrences.

18

 
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Ave. Days Avg. Days of Laufer
# of Ultra : Facility wg
. : : ot . Ultra High , Statistical
Principal Diagnosis Group | Admissions High at Rate wo n
at Other . Significance
Laufer Laufer Facilities Relative to
Facilities Others
Infection and Inflamination--
internal Prosthetic Device; 257 25,73 12.06 213% <] in 100 Million
Implant; and Graft
Cellulitis and Abscess of Leg 246 42.96 14.67 293% <1 in 100 Million
Respiratory Failure 240 30.24 12,93 234% <1 in 100 Million
Other Diseases of the Blood and 239 26.81 12.40 216% <1 in 100 Million
Blood-fonuing Organs
Aspiration Pneumoulis; 231 27.04 12.97 208% <1 in 100 Million
Other Mental Illness 229 37.82 15,28 247% <1 in 100 Million
Syncope 225 39.46 17.39 227% <1 in 100 Million
Other Symptoms; Signs; and TII-
defined Conditions and Factors 224 32,01 15.3] 209% <1 in 100 Million
Influencing Health Status
Other Disenses of the Skin and 221 28.97 12.02 241% < Lin 100 Million
Subeculaneous Tissue
Other infectious and Parasitic 210 28.13 12.63 223% < | in 100 Million
Malfunction off on Implant; 207 29.54 15.07 196% < | in 100 Million
Diabetes with Other 207 30.34 14.04 216% <1 in 100 Million
Atrial Fibrillation 196 34.03 13.67 249% <1 in 100 Million
Hypovolemia 193 36.56 15.31 239% <1 in 100 Million
Hemorrhage of Gastrointestinal 179 28.10 12.52 224% <1 in 100 Miltion
Oe eS fd and 177 23.92 12.45 192% <1 in 100 Million
Fracture of Vertebral Column
Without Mention of Spinal Cord 177 43.37 18.25 238% <1 in 100 Million
Injury
Fracture of Pelvis 164 44.45 20.11 221% <1 in 100 Million
Intestinal Infection 159 33.94 12.86 264% <1 in 100 Million
Other Diseases of the 157 30.99 13.07 237% < 1 in 100 Million
Genitourmary System
Epilepsy 152 32.93 15.69 210% <1 in 160 Million
E. Coli Septicemia 145 28.87 13.31 217% <1 in 100 Million
Other Intracranial Injury 145 36.77 18.24 202% <1 in 100 Million
Other Comective Tissue 140 43.47 18.03 241% <1 in 100 Million
Postoperative Infection 140 28.55 12.85 222% <1 in 100 Million
Pathological Fracture 139 38.40 16.30 236% <1 in L00 Million
Aleohol-related Disorders 135 32.00 13.78 232% < [in 100 Million
ooo entice 134 23.96 12.00 200% | <1 in 359 Thousand
Hypertensive Weart Andi or 131 30.11 13.04 231% < {in 100 Million
Staphylococcal Septicentia 127 26.49 11.63 228% <1 in 53 Million
Congestive Heart Failure 124 27.98 11,62 241% <1 in 100 Million
Other Residual Codes; 122 36.84 15.73 234% < 1 in 100 Million

Unclassified; All E Codes

 

 

 

 

 

 

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Avg, Days Avg. Days of Laufer
# of Ultra . Facility wus
» : : os : Ultra High . Statistical
Principal Diagnosis Group | Admissions High at Rate ss 22
at Other . Significance
Laufer Laufer Facilities Relative to
Facilities Others
Fracture of Humerus 120 45.25 21.80 208% < Lin 100 Million
Other Venous Bibolisma and 120 30.33 14.75 206% <1 in 100 Million
Other Fracture of Lower Liinb 11] 46.4] 21.23 219% <1 in 100 Million
Transient Cerebral Ischemia 111 39,58 17.99 220% <1 in 100 Million
Other Nervous System 102 46.16 16.05 288% <1 in 100 Million
Symptoms and Disorders

 

B. The Excessive Use of Ultra High Rehab is Systemic Across
Laufer Facilities and not Limited to a Few Facilities

46. To rule out that excessive billing of Ultra High Rehab is unique to a few Laufer
facilities, Relator analyzed these trends for individual Laufer facilities and compared them to other
individual SNFs. Figure 3 shows the average length of Ultra High Rehab provided to patients at
all facilities in the United States and is ordered from facilities with the least Ultra High Rehab to
facilities with the most. The trend of excessive Ultra High Rehab is prevalent across Laufer
facilities. All 9 Laufer facilities are in at least the 97th percentile of all facilities based on average
days of Ultra High Rehab. Out of more than 15,000 facilities with at least 100 Medicare patients,
Laufer facilities have 9 facilities in the top 1,000 facilities. It is difficult to overstate how
mathematically impossible it would be for this scenario to exist due to random chance. The
probability of Laufer facilities randomly having 9 out of 9 facilities in the top 1,000 is less than |
in 100 million.2? Thus the behavior cannot be attributed to a few rogue facilities, but is instead

systemic throughout the Laufer system.

 

23 This statistical probability is based on the uniform distribution. In this case, since there are more than 15,000 SNFs,
the top 1,000 facilities would be equivalent to the top 7% of facilities. Hence, we should only expect that 7% of
Laufer’s 9 facilities, or only | of its facilities, should be among the top 1,000 facilities, as opposed to 9 facilities.

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Figure 3. Distribution of average Ultra High Rehab treatment length by SNF.

The following figure shows, for every SNF that treated at least 100 patients, the average number of Ultra High Rehab-
treatment days across all patients in that facility. Laufer facilities are highlighted in red. This graph comprises more
than 15,000 SNFs.

 

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Mean Ultra High Rehab Treatment Length

 

 

0 —__f
0% 10% 20% 40% 40% 50% 60% 70% 80% 90% 100%
Percentile

| Laufer Facility | Non-Laufer Facility

47. At bottom, Laufer facilities as a system treat patients with nearly double the days
of Ultra High Rehab than other systems. The average Medicare patient at Laufer facilities receives
32.88 days of Ultra High Rehab, whereas the average Medicare patient at other facilities receives
14.87 days of Ultra High Rehab. As shown in Panel A of Figure 4, this difference is consistent
across multiple years and is statistically significant as the probability that such a significant

difference exists randomly is less than | in 100 million.

21

 
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Figure 4. Ultra High Rehab Treatment at Laufer Facilities Versus Other Facilities,

This figure shows the average days of Ultra High Rehab at Laufer facilities versus other facilities from year to year
for both Laufer (red) and other facilities (blue), showing that patients get more Ultra High Rehab at Laufer facilities.
This is based on more than 18,000 patient admissions at Laufer facilities and more than 13 million patient admissions
at other SNFs.

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Mean Ultra High Rehab Treatment Length

@ Laufer Facilities Non-Laufer Facilities

Cc. Examples of Specific False Claims Submitted by Laufer
Facilities

48. Across all of the 57 diagnosis groups, Relator has identified numerous specific false
claims submitted by Laufer facilities to Medicare. Each of these examples are claims in which
Laufer facilities billed for medically unreasonable and unnecessary rehab. As noted above, to
qualify for Ultra High Rehab, a patient must receive at least 12 hours of therapy a week, and the
patient must also receive one type of therapy (physical, occupational, or speech pathology) for at
least 5 days, and a second type of therapy for at least 3 days.“ Relator has identified several claims
in which Laufer facilities provided patients with significant quantities of rehab, including Ultra

High Rehab, up until the patient died.

 

24 See Centers for Medicare & Medicaid Services, MS Long-Term Resident Care Assessment Instrument 3.0 User’s
Manual, Version 1.14 (October 2016), available at https://goo.g/AqwFcW.

22

 
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49. For example, patient 181773973 is a male 80-84 years old who was admitted to
Forest Manor on February 25, 2013, following a 7-day hospitalization for Pneumonia. He also had
secondary complications of encephalopathy, heart failure, dementia, and chronic kidney disease
during his inpatient stay. He was treated at Forest Manor for a total of 43 days until he passed
away. Forest Manor billed for 43 days of Ultra High Rehab for this patient, up to and including
the day he passed away.”

50. Patient 198483505 was a male older than 84 years old who was admitted to Forest
Manor on July 16, 2015, after a 4-day hospitalization for an intracerebral hemorrhage. He also had
secondary complications of urinary tract infection, hypertension, and osteoarthrosis. He received
Ultra High Rehab at Forest Manor for 79 days, up until the day he died.?°

51. Patient 187477711 was a male 80-84 years old who was admitted to Treetops on
February 21, 2014, after a 10-day hospitalization for Septicemia. He also had secondary
complications of urinary tract infection and acute kidney failure. He received Ultra High Rehab at
Treetops for 60 days, and then received 8 days of Medium Rehab up until the day he died.””

52. Patient 198733371 was a female 80-84 years old who was admitted to Oasis on
May 21, 2016, after a 24-day hospitalization for subdural hemorrhage. She received the surgical
procedure of extirpation of matter from intracranial subdural space, and also had secondary
complications of encephalopathy, pneumonitis, and urinary tract infection. She received 60 days

of Ultra High Rehab, and died on the 61st day of her stay.”

 

23 Forest Manor submitted claims to Medicare for this patient’s admission with the following claiin nuinbers: 3454005,
3454006, and 3454007,

26 Forest Manor submitted claiins to Medicare for this patient’s admission with the following claim numbers: 3009184,
3428418, 3859378, and 4278681.

27 Treetops submitted claims to Medicare for this patient’s admission with the following claim numbers: 3440256,
3440257, and 3440258.

28 Oasis submitted claims fo Medicare for this patient’s admission with the following claim numbers: 1993946,
2408423, and 2818039.

23

 
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53. Patient 183402002 was a female older than 84 years old who was admitted to
Treetops on October 12, 2015, after a 6-day hospitalization for Septicemia Due to E. coli. The
patient also had secondary complications of Dementia, Diabetes, Metabolic Encephalopathy,
Acute Kidney Failure, and a Urinary Tract Infection. Treetops billed Medicare for 31 days of Ultra
High Rehab, up to and including the day she died.”?

54. Patient 102374439 was a male 75-79 years old who was admitted to Suffolk on
April 9, 2014, after a 20-day hospitalization for acute and chronic respiratory failure. He was
treated at the inpatient hospital with more than 96 hours of ventilator support, and also had
secondary complications of heart failure, pneumonia, and acute kidney failure. Suffolk billed
Medicare for 49 days of Ultra High Rehab for this patient, up to and including the day he died.*°

55. To further demonstrate Laufer facilities’ billing of unreasonable and unnecessary
rehab, the following Table 3 includes 50 additional examples of claims for SNF admissions
submitted by Laufer facilities with excessive Ultra High Rehab, along with the excess days of
Ultra High Rehab provided by Laufer facilities and the amount of additional revenue Laufer
facilities received as a result. Table 3 is illustrative and is by no means an exhaustive list of

excessive Ultra High Rehab provided by Laufer facilities.

Table 3. Ultra High Rehab False Claims Made by Laufer Facilities.

 

 

Days Days of
as : vis Age/ Inpatient of Excess False
Beneticia ’ on SNF Aamission Gender/ Principal Ultra Ultra Claim
ae Race Diagnosis High High Amount
Rehab Rehab
3405253/ Urinary
4405254/ 75-19 Tract
180457112 3405255) Oasis 10/28/2013 Female/ Infection; 60 44.82 $18,323
3195979 White Site Not
Specified

 

 

 

 

 

 

 

 

 

 

 

 

29 Treetops submitted claims to Medicare for this patient’s admission with the following claim numbers: 4239875
and 4650016.

30 Suffolk submitted claims ta Medicare for this patient’s admission with the following claim numbers: 127930 and
127931.

24

 
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Days Days of
an . . Age/ Inpatient of Excess False
Benen on SNF Aaimission Gender/ | Principal | Ultra Ultra Ciaim
. Race Diagnosis Righ High Amount
Rehab Rehab
3438001/ >84/ Fracture of
181332180 | 3438002/ Oasis 11/15/2013 Female/ Neck of 60 38.79 $13,905
3226373 White Femur (hip) .
rocsoee) <65/ Pneumonia;
181994212 7368987) Oasis 04/21/2016 Female/ Organism 60 47.67 $15,168
OTIRT31 White Unspecified
Other
3547861/ 80-84/ Diseases of
184447771 3547862/ Oasis 10/11/2013 Female the 60 45.14 $12,911
3547863 White Circulatory
System
Delirium
Dementia
3365229/ 80-84/ and
185430479 3365230/ Oasis 11/09/2014 Female/ Amneslic 60 44.82 $11,982
297147 White and Other
Cognitive
Disorders
31747031 65-69/ Respirato
184684238 Sutton Park | 06/07/2011 |  Malef pirerery ) 100 87.07 | $18,436
3628044/ Whit Failure
4096026 ue
2770555) soar | cell |
182706791 3970557/ Treetops 03/01/2014 Female/ and Abscess 100 85.33 $17,985
3270558 White of Leg
352328 |/ Diabetes
3523282/ 80-84 with Oth
183830744 Suffolk 05/24/2013 | Male/ meer 100 85.96 | $18,216
3523283/ Black Manifestatio
3523284 a ns
Other
ey Fast >84/ Diseases of
182026346 03/17/2015 Fematle/ the 90 TIAL $17,760
2099200/ Rockaway White Digestiv
2535478 IBestIve
System
zis00 | sosa | Onset
182949072 . 06/18/2011 Female/ Chroni¢ 60 47.96 $15,586
3622179/ Manor Whit Bronchitis
4090088 . roneh
3506034 ror | other
183387343 3506236) Sutton Park | 02/08/2013 Female/ Mental 100 84.72 $14,001
4506237 White Tlness
eraaier Forest 80-84/ Congestive
180837846 05/12/2011 Male/ Heart 90 78.38 $18,254
316231 1/ Manor White Failur
3615645 amare
4543933/
75-79}
isazaso77 | 4984849/ East 10/06/2011 | Females | P™uUreot | go 68.20 | $8,348
5443098/ Rockaway White Humerus
376637 |

 

 

 

 

 

 

 

 

 

 

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Days Days of
+, . woe Age/ Tupatient of Excess False
Benefeians a“ SNF Aamission Gender/ Principal Ulira Ultra Claim
Race Diagnosis High High Amount
Rehab Rehab
Other
3371907/ Forest ~84/ Salen
185612683 3371908/ M 06/21/2014 Female/ 5 ¥ f 60 43.95 $17,444
3371909 anor White YMprlomns
and
Disorders
Other
3882425/ <65/ Diseases of
460465925 3882426/ Trectops 11/28/2014 Male/ the 60 474] $13,788
342692 White Digestive
System
370761/ Other
370762/ 75-79/ Diseases of
107566665 370763/ Sutton Park | 01/30/2014 Female/ the 100 85.14 $18,337
370764/ Hispanic | Circulatory
370765 System
40261991 70-741 Other
469563319 Long Island | 05/22/2014 Feinale/ 60 50,08 $7,370
4026194/ White Neoplasms
4026195
ea 12/ <65/ Acute Renal
185111996 Sulton Park | 08/04/2015 Male/ : 100 85.68 $18,685
4244784/ White Failure
4654797
seocosyy 65-69/ Obstructive
473831820 4498631) Suffolk 09/27/2016 Female/ Chronic 50 77.96 $18,602
4916063 Black Bronchilis
3815219/
4284111/ >84/ Transicnt
116009270 | 4729270/ Suffolk 09/27/201 | Female/ Cerebral 100 82.01 $16,810
5172585/ White Ischemia
674043
3388485/ 80-84/
1gcos3803 | 2288486" | Forest toov014 | Mater | Osteoarthriti | gg 87.57 | $28,786
3388487/ Manor White s; Localized
299189
vyeseyoy East >84/ Occlusion of
184334428 03/21/2011 Female/ Cerebral 90 67,88 $7,100
225422 1/ Rockaway White Arteri
2719541 erles
Other
§26253 L/ 70-74/ Diseases of
495594822 §262532/ Treetops 03/12/2012 Female/ the 60 47.4] $14,130
§262533 While Digeslive
System
sr7sa4 East 80-84/ Acute Renal
184450342 3775442/ Rockaway 05/14/2012 Wei Failure 90 75,68 $15,664
3775443

 

 

 

 

 

 

 

 

 

 

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Days Days of
so : wos Age/ Inpatient of Excess False
Benet ; a o SNF see Gender/ Principal Ultra Ultva Claim
Race Diagnosis High High Amount
Rehab Rehab
49381701 10-741 Osteoarthriti
493904447 Suffolk 10/09/2014 Female/ : 90 TAT $23,461
4938 171/ White s; Localized
437817
5228066/ 70-74/ Other
499538721 5228067/ Treetops 05/13/2014 Female/ Neo ‘eens 60 50.08 $5,998
5228068 White P
Other
tooepety 65-69/ Diseases of
47188992 | 4095052/ Long Tsland 03/27/2014 Male/ ithe 60 47 Al $15,399
4095053 White Respiratory
System
oeeeet 80-84/ Obstructive
182156605 3487337/ Montelair 06/08/2015 Male/ Chironic 190 87.96 $21,589
3816339 White Bronchitis
18089 1a 15-79 Osteoarthriti
497836832 Oasis 03/19/2015 Female/ . 90 TST $24,828
2267499/ White s; Localized
2703123
Other
sonar 70-74/ Diseases of
484147875 3928902/ Excel 07/09/2015 Male/ the 60 47.4] $15,093
4348666 White Digestive
System
33507517 Fast 80-84/ Acute
184985358 04/03/2014 Female/ Myocardial 90 T7735 $17,296
3350758! Rockaway White Infarction
4350759
491974 East 80-84/ Acute Renal
198190897 . 11/16/2011 Female/ : 90 75.68 $15,612
4326960/ Rockaway While Failure
4326961
507891 4/
254235/ 80-84/ Obstructive
186752849 673412/ Oasis 12/24/2015 Male/ Chronic 90 77.96 $18,553
1104883/ Black Bronchilis
1539909
seaeecel Forest 80-84/ Other Injury
185951616 ores 03/17/2012 | Male/ and 90 73.47 | $12,963
3835657/ Manor White Poisonin
3835658 5
Other
sous meu | Soom
198855188 Treetops | 08/07/2013 | Female/ ysre 60 43.95 | $17,620
4090584/ Whit Symptoms
4090585 me and
Disorders
M4364) 80-84/ | Unspecified
198620475 ‘Treetops | 02/09/2016 |  Male/ specie 90 77.53 | $14,902
1569095/ Whit Septicemia
1993543 me

 

 

 

 

 

 

 

 

 

 

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Benetiary on SNF Aamission Gender/ Principal Ultra Ultra Claim
" Race Diagnosis High High Amount
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ayoyooe/ Eas t 70-74) Other Injury
481632815 11/17/2012 Male/ and 90 TAT $12,989
4548579/ Rockaway Black Poisoni
4548580 ac olsoning
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case vw |“
184189874 5071203/ Suffolk 10/23/2015 Male/ Infection; 90 7482 $12,547
746899 White Site Not
Specified
Other
sig cy | Dao
185996910 Sutton Park | 07/13/2011 | Male/ he Nervous 1 100 83.06 | $16,434
4100637/ Whit System and
4550088 me Sense
Organs
2835881 rs: | Acute
189279544 4665826/ Montclair 09/28/2015 Male/ Myocardial 60 47.35 $14,488
5085790 White Infarction
5117534/ 70-74/ Fracture of
495189383 | 5117535/ Suffolk 10/18/2013 Female/ Neck of 60 38.79 $11,939
5117536 White Femur (hip)
2723 143/
3134834/ 80-84/ Acute Renal
160910788 Sutton Park 07/05/2016 Male/ . 100 85.68 $18,685
3549238/ Black Failure
3957351
3948007/ Forest 0-74 Other Injury
489811670 | 4367476/ Mana 09/21/2015 | Female/ and 60 4347 | $10,261
4772240 HOF White Poisoning
5013982/
5013983/ Fast 75-79} Unspecified
493169837 | 50139847 | | | 07/29/2013 | Male’ Sentive vin 90 77.53 | $16,520
5013985/ way White puceme
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3366382 sos | Ace
185462802 3366384/ Treetops 02/10/2014 Male/ Myocardial 90 7735 $18,225
3366385 White Infarction
4513543/
45 13544/ 70-74/ Unspecified
480741273 | 4513545/ Suffolk 07/26/2013 | Female/ tine ° 90 77.53 | $15,163
4513546/ White ephcemia
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343029 1/
3430292/ 65-69/ Cellulitis
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sete 80-84/ Other Injury
184272003 3194850/ Excel 06/03/2016 Female/ and 90 F347 $12,955
3608071 White Poisoning

 

 

 

 

 

 

 

 

 

 

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Days Days of
ee : et Age/ Inpatient of Excess False
Ben y own SNF ‘anesion Gender/ Principal Ultra Ultra Claim
Race Diagnosis High High Amount
Rehab Rehab
eine East 70-74/ Fracture of
483403636 12/28/2012 Female/ Neck of 60 38.79 $13,936
4614771/ Rockaway White Femur (hip)
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1668723/ 70-74/ Heart
185944373 2110046/ Sutton Park 03/24/2015 Female/ Failure; [00 87.49 $22,171
2546333/ Black Nonhyperten
2976084 sive
2. Sharp Drop in Therapy After 60, 90, and 100 days Further Proves
Laufer Facilities’ Fraudulently Excessive Billing of Ultra High
Rehab
A. Laufer Facilities Make Treatment Decisions in Order to
Maximize Revenue in Light of Medicare’s Assessment and
Reporting Requirements
56. Laufer facilities’ fraudulent conduct can also be proven using causal methods,

which are often used in economics, finance and other applications to assess the extent to which an
effect can be identified to be caused, and not merely associated with, other explanatory variables.*!
A common causal econometric methodology is the use of discontinuity analysis which can be
applied when there is a sudden change in the effect that one wishes to examine.** In SNFs, the
patient’s need for therapy should be similar across consecutive days since, on average, their
underlying medical necessity should not change drastically from one day to the next. However, an
SNE could be providing therapy to patients with the goal of fraudulently maximizing revenue and
therefore suddenly change the level of therapy provided in response to assessments or other

documentation requirements. This would be in contrast to a facility that provides therapy only

 

3! “The notion of ceteris paribus—that is, holding all other (relevant) factors fixed—is at the crux of establishing a
causal relationship.” Jeffrey Wooldrige, Econometric Analysis of Cross Section and Panel Data 3 (2d ed. 2010).

» See J.D. Angrist and J.S. Pischke, Mostly Harmless Econometrics: An Empiricist’s Companion 251--53 (2009).
29

 
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based on medical necessity and is thus unconcerned with the documentation requirements. A
discontinuity analysis is able to determine whether there is a statistically significant sudden change
in the level of therapy due to the additional explanatory variable, which in this case is the
requirement to record and submit assessments of the patient’s condition and need for therapy.

57. According to CMS, SNFs providing rehab to patients are required to perform and
record an initial assessment and additional assessments at 14, 30, 60, and 90 days to continue
providing rehab treatment. Notably, the assessments are performed with the involvement of staff
employed by the SNF and are not externally and independently verified. Further, the Medicare
benefit runs out after 100 days of SNF services.

58. Relator found spikes at each of these intervals at Laufer facilities, i.e., abnormally
high levels of patients who received Ultra High Rehab for exactly 14, 30, 60 or 90 days (see Figure
5 on page 29 below), indicating that facilities are seeking to maximize the level of Ultra High
Rehab provided until an assessment needs to be submitted to Medicare. The spikes are particularly
large for patients receiving exactly 60, 90, or 100 days of Ultra High Rehab.

59, Nationwide, 1.49% of SNF patients receive exactly 60, 90, or 100 days of Ultra
High Rehab, while 8.65% of patients at Laufer facilities receive exactly 60, 90, or 100 days of
Ultra High Rehab. Laufer facilities have more than 5.8 times as many patients who receive exactly
60, 90, or 100 days of Ultra High Rehab than other facilities where such a spike is unusual and

uncommon.

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Figure 5. Histogram of Ultra High Rehab Treatment Length for Laufer and Non-Laufer Facility Patients.

The following figure plots, for each Ultra High Rehab treatment length between 1 and 190 days, the percentage of
patient admissions where the patient received exactly that many days of Ultra High Rehab treatment. The red
histogram displays patients treated at a Laufer SNF, and the blue histogram displays patients treated elsewhere. There
were nore than 13 million patient admissions in the data set, including more than 18,000 patient admissions at Laufer

facilities.
4% 4

3% 7

2% 4

  

I%-

 

% of Ultra High Rehab Admissions

 

 

i abdul hulu |

0% i
100

Ultra High Rehab Days
M@ Laufer Facilities @ Non-Laufer Facilities

B. The Spike in Patients Receiving Exactly 60, 90, or 100 Days of
Ultra High Rehab is Consistent Across Laufer Facilities

60. This pattern is consistent across all Laufer facilities, and several Laufer facilities
are extreme outliers for the proportion of patients receiving exactly 60, 90, or 100 days of Ultra
High Rehab. Figure 6 shows how it is incredibly rare for an SNF to have more than 5% of its
patients receive exactly 60, 90, or 100 days of Ultra High Rehab, occurring at only 8.05% of
facilities nationwide. However, at 8 of 9 Laufer facilities (88.89%), more than 5% of patients
receive exactly 60, 90, or 100 days of Ultra High Rehab. Moreover, 3 Laufer facilities bill more

than 10% of their patients as receiving exactly 60, 90, or 100 days of Ultra High Rehab.

3i

 
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Figure 6. Histogram: Proportion of Patients Receiving exactly 60, 90, or 100 days of Ultra High Rehab.

The following figure shows, for each proportion between 0% and 20%, the number of SNFs treating that proportion
of patients with exactly 60, 90, or 100 days of Ultra High Rehab. Only facilities that treated at least 100 patients from
2011 through 2016 are included here. The figure comprises inore than 15,000 SNFs in the data set, including 9 Laufer
facilities. Proportions for individual Laufer facilities are marked, as are the overall and Laufer facility averages. There
are 17 non-Laufer SNFs with a proportion higher than 20% that are excluded from the following histogram.

Laufer Facilities’ Mean

     

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i '
600- 1 Non-Laufer Facilities' Mean '
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200-
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1
0- \ Micra ie nt ne i tee
0% 3% 10% 13% 20%

Proportion of Patients Given Exactly 60, 90, or 100 Days of Ultra High Rehab
@Non-Laufer Facilities Laufer Facility

61. Further, Figure 7 shows just how extreme of an outlier some individual Laufer
facilities are in terms of the proportion of claims receiving exactly 60, 90, or 100 days of Ultra
High Rehab. Laufer facilities have 8 facilities in the top 5 percent of all facilities when ranked by
proportion of patients with exactly 60, 90, or 100 days, including 5 in the top 2 percent. The
probability of having 5 (out of 9) in the top 2 percent randomly is less than | in 2 million. The
consistent spike in patients receiving exactly 60, 90, or 100 days of Ultra High Rehab at Laufer
facilities indicates that Laufer facilities are giving patients as much Ultra High Rehab as possible

prior to the required assessments.

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Figure 7, Distribution of the Proportion of Patients Receiving Exactly 60, 90, or 100 Days of Ultra High Rehab.
The following figure shows, for each SNF, the proportion of patients who receive exactly 60, 90, or 100 days of Ultra
High Rehab. Laufer facilities are in red and all other SNFs are in blue. The figure comprises more than 15,000 facilities
with at least 100 patient admissions from 2011 through 2016, including 9 Laufer facilities.

 

20%

 

15%

 

 

10%

 

 

5%

Proportion of Patients Receiving
Exactly 60, 90, or 100 Days of Ultra High Rehab

 

 

 

 

 

 

 

0%

 

 

20% 30% 40% 50% 60% 70%
Percentile

| Lauler Facility, | ‘Non-Laufer Facility

62. The fact that so many patients no longer receive Ultra High Rehab after the
assessments for days 60, 90, and 100 indicates that few of these patients needed that Ultra High
Rehab for that length of time in the first place. In other words, if the patients did not need Ultra
High Rehab on day 61, then why did so many patients receive Ultra High Rehab on day 60 and
before? Similarly, if the patients did not need Ultra High Rehab on day 91 or 101, then why did so
many patients receive Ultra High Rehab on day 90 or day 100 and before? Providing therapy until
the assessment allows Laufer facilities to maximize revenue in light of the assessment periods, and
the analysis demonstrates that Laufer facilities are making rehab decisions in order to maximize

profits rather than providing patients with rehab that is reasonable and necessary.

33

 
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3. Alternative Hypotheses for Excessive Ultra High Rehab Do Not
Stand and Confirm that Laufer Facilities Fraudulently Billed
Medicare

63. To determine responsibility for the excessive Ultra High Rehab at Laufer facilities,
Relator analyzed whether the statistically aberrant amounts of Ultra High Rehab could be
attributed to a variety of external factors. First, Relator ran a fixed effect linear regression model
to control for a variety of possible explanations for Ultra High Rehab, including patient health,
patient characteristics and county demographic data. Second, Relator analyzed Laufer’s
acquisitions of two SNFs to determine whether there was a significant increase in the amount of
Rehab provided after Laufer gained ownership and operational control. Third, Relator considered
whether a patient’s diagnosis at the SNF, as opposed to their prior diagnosis inpatient hospital
diagnosis, could explain the Ultra High Rehab. Fourth, Relator considered whether the patient's
overseeing physician is responsible for the excessive Ultra High Rehab reimbursements at Laufer
facilities. Fifth, Relator considered whether the excessive Ultra High Rehab could be explained by
the referring hospital or the attending physician during the patient’s inpatient hospital stay. Sixth,
Relator analyzed a subset of patients who were adinitted to both a Laufer facility and another SNF.
As discussed further below, these analyses prove that the excessive Ultra High Rehab can be
directly attributed to Laufer facilities’ fraudulent activity as opposed to external factors, indicating
that the fraud was known by the system and was intentional.

A. Patient Characteristics and Demographics do not Explain the
Excessive Ultra High Rehab at Laufer Facilities

64. _ A fixed effect linear regression model allowed Retator to control for the possibility
that there are certain patient characteristics which might suggest a patient needs extra rehab.
Relator’s regression isolated the amount of Ultra High Rehab beyond such characteristics and
caused only by Laufer facilities. Using this methodology, Relator controlled for patient

characteristics such as age, gender, and race. Relator also used county-level demographic data,

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such as unemployment rate, percent of population without a high school diploma, log median
income, and the rural-urban continuum codes from the Department of Agriculture as control
variables.?? These county demographic variables provided Relator with a proxy for the income
levels, education levels, and access to care available to the patients. Lastly, Relator controlled for
the principal diagnosis by grouping together principal diagnosis codes in a manner consistent with
their statistical analysis, as well as any inpatient secondary diagnoses, whether the patient had
surgery, and the patient’s prior length of stay at the inpatient hospital. These enabled Relator to
estimate the severity of the patient’s condition and need for receiving therapy. Equation 1 shows

the fixed effect linear regression model used by Relator.

 

33 The Rural-Urban Continuum Codes measure whether each county is in a metro or non-metro area, and reflect the
overall size of the metropolitan area.

35

 
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Equation 1. Relator’s Fixed Effect Linear Regression Model.
The following equation presents the fixed effect linear regression model used by Relator. The variable of interest is

f,, which is the coefficient for Laufer facilities. Panel A provides the equation, and Panel B explains the variables
included in the model. The / refers to a specific admission and j refers to the potential options for the categorical
variables.

Panel A — Regression Model
Utt_Rehab_Los,
57 6
= By + By. Laufer; + » 2, inp_Pri_Diag,; x Last_Inp_Los, + > Bs) Agey
jr2 f2
57 9
+ By.Male, + Bs.Race,+ >) Bgy.Inp_Pri_Dtagy x Last_Inp_Surg; + , By. RUCC,,
f=2 Jn2
+ fy. Pov_Rate, + Bo.Log_Med_Inc,; + Bi). Unemp_Rate; + By,.No_HS_Rate,
589 4
+ ) Biya, inp_Sec_Diagy + > B13; Seasony + &

j2 j=2

Panel B — Explanation of Variables

Variable

Description

 

Ul_Rehab_Los,
Laufer,
Inp_Pri_Diagy
Last_Inp_Los;
Last_inp_Surg,
iInp_See_Diagy
Seasony
Agey
RUCCy
Male,
Pov_Rate,
Unemp_Rate;
Log _Med_Inc,
No_HS_Rate,

ej

Days of Ultra High Rehab treatinents for patient /

Whether patient { was treated at Laufer facility

Last inpatient principal diagnosis group dummy variables for patient i

Last inpatient length of stay at hospital for patient i

Whiether the last inpatient claim was assigned to a surgical DRG

Last inpatient secondary diagnosis ccs_1 category dummy variables for patient 7
Season control variable for the SNF admission (Winter, Spring, Summer, Fall)
Patient’s age on the admission.

Patient's rural urban continuum code based on the county.

Whether patient i was a male.

County poverty rate in 2014.

County unemployment rate in 2014

County log median income in 2014

County percentage of individuals without a high school degree in 2010

Error term

65. By controlling for these characteristics, the regression model allowed Relator to

isolate the impact that being treated at a Laufer facility would have on a patient’s expected days
of Ultra High Rehab. For example, given two patients with the same age and gender, from the
same county, with the same principal and secondary diagnoses from their prior inpatient stay, same
surgery status, and same length of stay, the Laufer patient would on average receive 17.11 more

days of Ultra High Rehab than the patient at a non-Laufer facility.

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66. Table 4 shows the results of the fixed effect linear regression, and after controlling
for other factors, it shows that the Laufer coefficient for days of Ultra High Rehab is 17.11. This
means that after considering the characteristics included in Equation 1, patients at a Laufer facility
can be expected to receive an extra 17.1! days of Ultra High Rehab beyond what would be given
at other facilities. Given the baseline average days of Ultra High Rehab at other facilities is 15.1
days, Laufer facilities’ average days of Ultra High Rehab is 213.31% that of other SNFs, even
after controlling for basic patient and demographic characteristics. This result is highly statistically
significant with the probability that this observed difference is due to random chance being less
than | in 100 million. The regressions indicate that Ultra High Rehab rates at Laufer facilities are
extremely outside of the norms of what is acceptable and reasonable in industry for patients with

similar characteristics.

Table 4. Results of Fixed Effect Linear Regression Model

Relator used a linear regression to analyze approximately 13 million admissions at Laufer facilities and other SNFs.
The results are presented in the following table. The coefficient is listed first and the p-value is in parenthesis, which
represents the statistical significance of the coefficient. A lower p-value means the result is more statistically
significant. Coefficients were not included for categorical variables and instead are labeled with a “Yes” to indicate
the variable was controlled for in the regression. The Laufer coefficient is added to the rate at other facilities to get
the expected Laufer facility days of Ultra High Rehab after including controls.

Regression Coefficients
(See description in table beader)

 

-0.0305
Joverty
Poverty Rate (<0,0001)
0.2054
Unemployment Rate (<0.0001)
: 0.0075
Log Median Income (0.8754)
ce . 0.2048
No High School Diploma Rate (<0.0001)
Season Control Variables Yes
sige Control Variables Yes
Sex Control Variables Yes
Race Control Variables Yes
Inpatient Length of Stay X Inpatient Yes
Principal Diagnosis Category
Inpatient Surgical DRG X Inpatient Yes
Principal Diagnosis Category
Inpatient Secondary Diagnosis Yes
Categories ©
RUCC Conirol Yes

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Laufer Facilities Coefficient for
Unexplained Ultra High Rehab

Other Facilities Average
Laufer Facilities Calculated Effect

Laufer Facilities Relative Effect

17.41
(<0,0001)

15.1
32.21

213.31%

 

67. Another regression method to estimate Laufer facilities’ effect on Ultra High Rehab
is to estimate the regression without the controls for skilled nursing chain and create an estimate
of the expected days of Ultra High Rehab for each individual claim. For each skilled nursing chain,
the average difference between the predicted days of Ultra High Rehab from the regression and
the actual days of Ultra High Rehab billed on the claim is calculated, which is referred to as a
residual. The difference between these two values represents the unexplained Ultra High Rehab
that is caused by each skilled nursing chain. Figure 8 shows the average days of unexplained Ultra
High Rehab for each skilled nursing chain, with Laufer facilities plotted in red. Laufer facilities’

average unexplained Ultra High Rehab by this measure is 16.98 days, making it the highest among

all skilled nursing chains with at least 5,000 claims.

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Figure 8. Average Unexplained Ultra High Rehab for SNF Chains,
The following figure plots the results of the regression from Equation 1, but run without the Laufer fixed effect
variable. All other variables included were the same. The regression was run based on 319 SNF chains with at least
5,000 patient admissions from 2011 through 2016Q3. The small vertical lines off of the point estimates represent the
confidence interval for the systems’ unexplained Ultra High Rehab. Because chains with at least 5,000 admissions

were included, the large number of claims result in small confidence intervals.

 

 

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Laufer Facilities h
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Average Unexplained Ultra High Rehab

 

“15 -

 

 

 

 

 

0% 10% 20% 50% 40% 50%
Percentile

+ Other SNF Chains ¢:Laufer Facilities

 

60%

 

 

 

 

 

 

9% 100%

68. Relator also performed the analysis at the facility level to demonstrate that the

excessive Ultra High Rehab is taking place across the majority of Laufer’s SNFs, as opposed to a

few rogue facilities. Relator re-estimated the regression described in Equation 1, except instead of

one fixed effect control variable for Laufer facilities, individual fixed effect variables were

included for each of Laufer’s facilities. Figure 9 plots the results of that regression for each

individual Laufer facility. As shown in the graph, the amount of extra Ultra High Rehab at each

individual facility ranges from 12.05 extra days of Ultra High Rehab at Long Island to 21.86 extra

days at Sutton Park.

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Figure 9. Excessive Days of Ultra High Rehab at Individual Laufer Facilities.

The following figure displays the estimated regression coefficients and 95 percent confidence intervals for 9 Laufer
SNFs. The coefficient represents the amount of Ultra High Rehab attributed to the individual facilities after controlling
for other factors. A coefficient of zero suggests the facility is not engaging in any unnecessary or excessive Ultra High
Rehab.

Sutton Park -

Oasis -

 

East Rockaway ~
Suffolk -

Excel -

Treetops ~
Forest Manor —
Montclair -
Long island - ;

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Io 20

Excessive Days of Ultra High Rehab

4

69, As an additional analysis at the facility level, Relator used the regression from
Equation 1 but without the Laufer fixed effect variable, and calculated the residual, or unexplained
Ultra High Rehab for each facility. Figure 10 plots the average unexplained Ultra High Rehab for
each facility, and, when compared to other facilities, it is apparent that Laufer facilities’
distribution is skewed significantly to the right of the chart. This demonstrates that all of the Laufer

facilities have significant amounts of unexplained Ultra High Rehab.

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Figure 10, Ali SNFs, Ranked by Their Average Residuals,
The following figure shows the average residuals from our regression analysis across more than 14,000 SNFs with at
least 100 patient admissions. Higher residuals suggest higher amounts of unexplained Ultra High Rehab. Laufer
facilities are highlighted in red, and other facilities are in blue.

Average Unexplained Ultra High Rehab
>

   

0% 10% 20% 30% 40% 50% 60% 70% 80% 90% 100%
‘’Non-Laufer Facility: + Laufer Facility
70. Taken together, Relator’s regression analyses demonstrate that the excessive Ultra
High Rehab at Laufer facilities cannot be explained due to unique patient demographic or health
characteristics. Additionally, this behavior is consistent across nearly all of Laufer’s facilities,
indicating it required coordinated effort.

B. Laufer’s Acquisition of a New Facility Demonstrates that
Laufer Management Causes the Excessive Ultra High Rehab

71. Laufer’s fraudulent conduct can also be proven using a common causal econometric
methodology known as a Comparative Interrupted Time Series (CITS), which can be applied when
there is a sudden change in the effect that one wishes to examine to infer a causal relationship."

In this case, Laufer’s causal influence on the amount of Ultra High Rehab provided by an SNF can

 

4 “CITS.., produce[s] causally valid inferences about program impacts.” Marie-Andree Somers, Pei Zhu, Robin
Tepper Jacob, Howard Bloom, The Validity and Precision of the Comparative Interrupted Time Series Design and
the Difference-in-Difference Design in Educational Evaluation, MDRC Working Paper on Research Methodotogy
(Sept. 2013).

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be estimated by comparing the SNF’s average days of Ultra High Rehab before it was acquired
and managed by Laufer to its amount of Ultra High Rehab after it was acquired and managed by
Laufer.

72. Two defendants, Oasis and Excel, were acquired by Laufer in 2013, at which point
Laufer became the manager of both facilities. Prior to acquisition, these two facilities were
unaffiliated with Laufer. The timing of the acquisitions presented Relator with an opportunity to
use the discontinuity associated with the sudden shift of operational contro] at Oasis and Excel to

assess the impact Laufer has on the average amount of Ultra High Rehab provided to patients.

i, Oasis’ Increase in Ultra High Rehab After its Acquisition by
Laufer Indicates that Ultra High Rehab is Caused by Laufer’s
Practices
73. Laufer and two other individuals agreed to purchase the business and operations of

Oasis on February 6, 2013. Approval for the operational sale was granted by the New York State
Department of Health Public Health and Planning Council on August 1, 201 3, Relator examined
the average days of Ultra High Rehab at Oasis before and after its respective affiliation with
Laufer. Relator added an additional 30-day gap after the approval to account for the possibility
that it might take time to implement new practices to maximize revenue. As shown in Figure |},
prior to entering into the agreement with Laufer, Oasis’ average days of Ultra High Rehab was
close to zero. However, after signing the purchase agreement and completing the acquisition,
Oasis’ rate of Ultra High Rehab increases suddenly and is consistent with the average throughout
other Laufer facilities. This sudden increase continues weil after Laufer had acquired and began
managing the facility, indicating it was not a temporary change in behavior or otherwise an

aberration.

 

35 See New York State Department of Health, Public Health and Planning Council, Project # 131153-E (Aug. 1, 2013),
available at https://goo.gl/wTYgQQ,

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Figure 11. CITS for Laufer’s Acquisition of Oasis.

This figure shows the average days of Ultra High Rehab over time at Oasis (red) and at other Laufer facilities (black).
Each dot represents a 90-day bucket with claims allocated based on the median date of the claim. The red line shows
the results of the CITS analysis for Laufer’s acquisition of Oasis. All claims from the signing of the purchase
agreement to 30-days after its approval were not included in the CITS, but were included on the graph for completeness
and are preyed out. The jump from the first line to the next demonstrates the immediate impact of the management
change on Oasis’ Ultra High Rehab.

 

 

 

 

 

 

 

 

 

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2 **e,e * @ |
5 30 er” + |
eh ° I I og-30!2013 |
id ad 30 Days After \
n e 1 i
2 Purchase Approved
P 20 02-06-2013 | I
° Purchase Amreement | ° I |
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i id I |
A to |
0) O88 Pr OO 2° I |
i i
Jan-1] Jan-12 Jan-13 Jan-14 Jan-15 Jan-16
Months

@ Other Laufer SNFsi ° Oasis

74. The red line in Figure 11 also shows the results of the Comparative Interrupted
Time Series (CITS) analysis. The CITS demonstrates that there is a significant jump in the amount
of Ultra High Rehab after the acquisition by Laufer. The graph is based on the CITS formula shown
in Equation 2 below, but does not include the variable controls.*© This altowed Relator to compare
differences in Ultra High Rehab for patients treated at Oasis before and after the acquisition change

relative to the behavior of other facilities. The advantage of this approach is that it allowed Relator

 

36 Because the graph only includes two dimensions, the CITS for the graph does not include the patient and

demographic controls identified in Equation 2.
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to identify and quantify not only the short-term effect of management change on the immediate
increase in Ultra High Rehab, but also the long-term effect in the post-acquisition trend of
increasing Ultra High Rehab. Relator’s CITS analysis shows the average days of Ultra High Rehab
increased on average 30.49 days immediately after the management agreement. As evidenced by
the slope of the line, the Ultra High Rehab continues to increase overtime, consistent with other
Laufer facilities. The probability this jump is random is less than I in 100 million, meaning Relator
is confident that management agreement caused an increase in the Ultra High Rehab.

75. Relator also ran a Comparative Interrupted Time Series (CITS) analysis while
controlling for a variety of patient characteristics, the equation of which is located in Equation 2
below, including the additional control variables. This allowed Relator to contro} for patient
characteristics such as age, race, and gender, claim characteristics such as the principal and
secondary diagnoses, and regional characteristics such as income and unemployment levels in the
patient’s home county. Such an analysis allowed the Relator to identify the amount of the increase
in Ultra High Rehab that can be attributed to the Laufer acquisition, while controlling for possible
changes in the composition of patients before and after the acquisition. As such, the variable of
interest represents the incremental amount of Ultra High rehab that can be attributed to the
management change beyond what could be explained by the other variables. After controlling for
the other variables, the effect of the management services agreement was estimated to be 31.00
days, meaning the new management agreement caused an average increase of 31.00 days of Ulira
High Rehab. The probability this difference is due to random chance is less than 1 in 100 million,

meaning this effect is almost certainly caused by Laufer’s acquisition.

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ii, Excel’s Increase in Ultra High Rehab After its Acquisition by
Laufer Indicates that Ultra High Rehab is Caused by Laufer’s
Practices

76. Similar to its acquisition of Oasis, Laufer and two other individuals agreed to
purchase the business and operations of Excel on August 31, 2012. Approval for the sale was
granted by the New York State Department of Health Public Health and Planning Council on
August 20, 2013, at which point Laufer became the manager of the facility.*” Relator examined
the average days of Ultra High Rehab at Excel before and after its respective affiliation with
Laufer, Relator added a 30-day gap after the approval to account for the possibility that it might
take time to implement new practices to maximize revenue. As shown in Figure 12, prior to
entering into the agreement with Laufer, Excel’s average days of Ultra High Rehab was lower than
other Laufer facilities. However, after the acquisition, Excel’s rate of Ultra High Rehab increases
suddenly to be more consistent with Laufer facilities’ average days of Ultra High Rehab. This
sudden increase continues well after Laufer’s initial acquisition, indicating it wasn’t a temporary

change in behavior or simply an aberration.

 

37 See New York State Department of Health, Public Health and Planning Council, Project # 122215-E (March 21,
2013), available at https://goo.gl/qEAGrt.

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Figure 12. CITS for Laufer’s Acquisition of Excel.

This figure shows the average days of Ultra High Rehab over time at Excel (red) and other Laufer facilities (black).
Each dot represents a 90-day bucket with claims allocated based on the median date of the claim. The red line also
shows the results of the CITS analysis for Laufer’s acquisition of Excel. All claims from the signing of the purchase
agreement to 30-days after its approval were not included in the CITS, but are shown in the graph for completeness
and greyed out. The jump from the first line to the next demonstrates the immediate impact of the management change
on the Ultra High Rehab.

 

 

 

 

 

 

 

 

 

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77. To demonstrate that the change in rate of Ultra High Rehab was caused by the
affiliation, the red line in Figure 11 also shows the results of the Comparative Interrupted Time
Series (CITS) analysis for Laufer’s acquisition of Excel. The CITS demonstrates that there is a
significant jump in the amount of Ultra High Rehab after the acquisition by Laufer. The graph is
based on the CITS formula shown in Equation 2 below, without the additional controls. Relator’s
CITS analysis shows the average days of Ultra High Rehab increased on average 17.82 days

immediately after the management agreement. The probability this jump is random is less than

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1 in 100 million, meaning Relator is confident that management agreement caused an increase in
the Ultra High Rehab.

78. To identify the amount of the increase in Ultra High Rehab that can be attributed to
Laufer’s acquisition and management of Excel, while controlling for patient characteristics before
and after the acquisition, Relator also ran a Comparative Interrupted Time Series (CITS) analysis
with controls for such patient characteristics, the equation of which is located in Equation 2 below.
The variable of interest represents the incremental amount of Ultra High rehab that can be
attributed to the management change beyond what could be explained by the other variables. After
controlling for the other variables, the effect of the management services agreement was estimated
to be 18.21 days, meaning the new management agreement caused an average increase of 18.21
days of Ultra High Rehab. The probability this difference is due to random chance is less than | in
100 million, meaning this effect is almost certainly caused by Laufer’s acquisition.

79, Relator’s detailed methodology to attribute the change in the average Ultra High
Rehab to Laufer’s acquisition of the facilities is based on the CITS formula in Equation 2. The
detailed patient level controls are discussed in more detail in Equation | in on page 33. The
contemporaneous effect of the management change on the days of Ultra High Rehab at Oasis or
Excel is estimated through the £,, coefficient, which represents the extra Ultra High Rehab found
in Oasis or Excel (i.c. the jump in the days of Ultra High Rehab) after adjusting for the pre- and
post-acquisition trends at non-Laufer SNFs, and also after adjusting for control variables. Although
not shown in the figures above, there was no jump in the rate of Ultra High Rehab at non-Laufer

SNEs before and after the acquisition periods.

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Equation 2, Relator’s Comparative Interrupted Time Series (CITS) Model.
The following equations present the CITS model used by Relator. The aggregate short-run and long-run effect of

management change on the days of Ultra High Rehab at Oasis or Excel is estimated through the variable B 94- This

represents the jump in the days of Ultra High Rehab due to the Laufer acquisition while assuming that Oasis’s or
Excel’s average days of Ultra High Rehab would continue at the same rate as other SNFs.

Panel A —CITS Model
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Panel B — Explanation of Variables

Variable Description

 

T, Whether patient ¢ was treated at the SNF of interest (Oasis or Excel)

Difference in days between the mid-point of the patient’s admission and the gap for the acquisition

time period.

If the patient was treated after the acquisition, the difference in days between the mid-point of the

times patient’s admission and 30 days after the approval of the acquisition, zero if treated before the
acquisition.

rdinti Whether the patient was treated before or after the acquisition

pe; Control variables, including the controls identified in Equation 1

time

C. Excessive Ultra High Rehab Cannot be Explained by Patients
Diagnosis at the SNF

80. Relator also analyzed whether something unique about the diagnosis assigned to
the patients at Laufer facilities could explain why Laufer facility patients receive excessive Ultra
High Rehab. Relator’s previous analyses used patients’ diagnosis assigned at their prior inpatient
hospital stay as an independent and objective determination of their medical need for therapy; this
additional test for robustness further confirms Laufer facilities’ fraudulently excessive Ultra High
Rehab.

81. As shown in Figure 13, Laufer facilities have higher rates of Ultra High Rehab
across all principal diagnosis code groups assigned at the SNFs. Specifically, in Panel A, each dot
represents a principal diagnosis and the red dots to the right of the 45-degree line show that Laufer
facilities provide more days of Ultra High Rehab than other facilities. For example, for patients
diagnosed with Osteoarthritis; Generalized and Unspecified, Laufer facilities on average provide

28.65 days of Ultra High Rehab, whereas other facilities on average provide 14.93 days of Ultra
48

 
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High Rehab. Similarly, the distribution of average days of Ultra High Rehab by principal diagnosis
code group, as shown in Panel B, continues to illustrate that Laufer facilities consistently bill more
days of Ultra High Rehab. If the amount of Ultra High Rehab provided by Laufer facilities was
comparable to other facilities across different SNF diagnosis codes, the dots would be clustered

close to the 45-degree line and the distributions in Panel B would be similar.

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Figure 13, Rate of Ultra High Rehab by SNF Diagnosis for Laufer and Other Facilities.

Panel A of the following figure shows, for 62 SNF principal diagnoses, the average Ultra High Rehab treatinent length
for patients thus diagnosed at Laufer versus non-Laufer facilities. Each dot represents a particular SNF principal
diagnosis, e.g., generalized and specialized osteoarthritis and the size of the dot corresponds to its frequency. Relator
only includes diagneses where at least 30 Laufer facility patients were thus diagnosed. Panel B compares the
distributions of average Ultra High Rehab treatment lengths at Laufer versus non-Laufer facilities for the individual
SNF principal diagnosis codes.

Panel A: Scatterplot of Average Ultva High Rehab by SNF Principal Diagnosis

 

 

 

 

 

 

 

 

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Mean Days of Ultra High Rehab at Laufer Facilities

‘olhigher Ultra High Rehab at Laufer Facilities

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Panel B: Distribution of Average Ultra High Rehab by SNF Principal Diagnosis

 

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Mean Days of Ulira High Rehab

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D. Attending Physicians are not Responsible for the Excessive
Ultra High Rehab

82. Relator also considered whether the excessive Ultra High Rehab could be caused
by the preferences or treatment decisions of physicians who work with patients at Laufer’ s
facilities as opposed: to some system-wide decision or corporate directive. Could it be that the
physicians who attended to patients at Laufer facilities were more disposed to prescribing more
intensive therapy than other physicians? To address this question, Relator analyzed the subset of
claims for physicians who worked at both a Laufer facility and other non-Laufer facilities to
determine whether their patients receive statistically different amounts of Ultra High Rehab at
Laufer facilities than at other facilities. Across all admissions involving doctors that treat at least
10 patients at both Laufer and other facilities, patient admissions at Laufer facilities have on
average 33.81 days of Ultra High Rehab whereas claims at other facilities have on average only

18.07 days of Ultra High Rehab, as shown in Figure 14. This means that when the same doctor

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oversees patients at Laufer and at other facilities, the patients at Laufer facilities have 15.74 days

of additional Ultra High Rehab than patients at other facilities overseen by fhe same doctor.

Figure 14, Average Days of Ultra High Rehab for Claims Belouging to Common Doctors at Laufer and Other
Facilities.

This figure shows the average days of Ultra High Rehab for patients treated by doctors that treat at least 10 patients at
Laufer and other facilities.

  

 

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Average Days of Ultra High Rehab
for Claims belonging to Common Doctors

Laufer Facilities Non-Laufer Facilities

83. Analyzing each common doctor individually further demonstrates how it is Laufer
facilities, not doctors, that are responsible for excessive Ultra High Rehab. As shown in Figure 15,
out of 63 doctors who treated at least 10 patients at both Laufer and other non-Laufer facilities, 57
(90.5 percent) had higher average days of Ultra High Rehab at Laufer facilities than at their other
facilities. The probability that random chance explains this many doctors having higher rates of
Ultra High Rehab among their patients at Laufer facilities than among their patients at other
facilities is less than 1 in 100 million. The large statistical significance of this effect indicates it
could not simply be due to physician judgment, but instead is indicative of a system-wide intent to
provide rehab beyond what is medically reasonable and necessary to maximize revenue.

Additionally, Panel B Figure 15 shows the distribution of average Ultra High Rehab days when

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these physicians work at Laufer versus other facilities, showing that the exact same doctors are
more likely to have patients with excessive amounts of Ultra High Rehab when they are working

with patients at Laufer than at other facilities.

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Figure 15, Attending Physician Days of Ultra High Rehab at Laufer Versus Other Facilities.

The following figures show the comparison of Ultra High Rehab associated with physicians who treated at least 10
patients at Laufer and other facilities, Panel A plots one point for each attending physician, and shows the average
days of Ultra High Rehab at Laufer facilities on the x-axis and at other facilities on the y-axis, The size of the dot
corresponds to the number of patients the doctor had at a Laufer facility. Panel B compares the distribution of the
average Ultra High Rehab treatment lengths for these doctors at Laufer versus non-Laufer facilities. The graphs are
based on more than 12,000 patient admissions at Laufer facilities and approximately 24,000 patient admissions at

other facilities for 63 common doctors,

Panel A: Scatter Plot of Average Ultra High Rehab by Attending Physician

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Mean Days of Ultra High Rehab at Other Facilities

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Mean Days of Ultra High Rehab at Laufer Facilities

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Panel B: Distribution of Average Ultra High Rehab by Attending Physician

 

 

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Mean Days of Ultra High Rehab

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84, ‘Thus, the excessive amount of Ultra High Rehab provided at Laufer facilities
cannot be explained by the professional opinion or judgment of the attending physicians serving
at Laufer facilities, but is instead due to system-wide practices in place at Laufer facilities through
corporate policies or directives.

E. Excessive Ultra High Rehab is not Explained by the Referring

Hospital or the Attending Physician During Patients’ Inpatient
Hospital Stay

85. Relator considered whether the excessive Ultra High Rehab at Laufer facilities
might be related to the patient’s prior inpatient hospital stay. Specifically, Relator considered
whether it was the referring hospital itself or the patient’s attending physician at the referring
hospital that influenced the amount of Ultra High Rehab provided. Conceivably, a particular
hospital or physician could be treating—and discharging to SNFs—a patient population that

required a more intensive rehabilitation therapy. To evaluate this possibility, Relator first

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considered a subset of hospitals that send at least 10 patients to both Laufer and other facilities and
compared the average days of Ultra High Rehab when they send patients to Laufer facilities versus
to those other facilities.

86. Relator found that the average patient coming from these hospitals receives 32.87
days of Ultra High Rehab at Laufer facilities, but only 17.05 days of Ultra High Rehab when
discharged to another SNF. Figure 16 Panel A shows the extent to which patients discharged from
the same hospital recetve higher amounts of Ultra High Rehab at Laufer facilities than at other
facilities. The probability that Laufer facilities would have higher amounts of Ultra High Rehab
for patients coming from all 70 referring hospitals is less than | in 100 million. Panel B shows the
distribution of Ultra High Rehab across these hospitals, which is shifted significantly to the right

for Laufer facilities’ patients.

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Figure 16, Referring Hospital Days of Ultra High Rehab at Laufer Facilities Versus at Other Facilities.

The following figures show the analysis for hospitals that sent at least 10 patients to Laufer facilities and other
facilities, Panel A plots one point for each referring hospital and shows the average days of Ultra High Rehab at Laufer
facilities on the x-axis and at other facilities on the y-axis, The size of the dot corresponds to the number of patients
discharged to Laufer facilities. Panel B compares the distribution of the average Ultra High Rehab treatment lengths
for patients from these hospitals at Laufer versus non-Laufer facilities. The graphs are based on more than 18,000
patient admissions to Laufer facilities and more than 414,000 admissions to other facilities for 70 common referring
hospitals.

Panel A: Scatterplot of Average Ultra High Rehab by Referring Hospital

 

 

 

 

 

 

 

 

 

 

 

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Mean Days of Ultra High Rehab at Laufer Facilities

@ Higher Ultra High Rehab at Laufer Facilities

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Panel B: Distribution of Days of Ultra High Rehab by Referring Hospital

 

 

 

 

Density

 

 

 

 

 

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Mean Days of Ulira High Rehab

MWiLaufer FacilitiesliNon-Laufer Facilities

87. To further consider whether the Ultra High Rehab length could be related to the
patient’s prior inpatient hospital stay as well as the inpatient attending physician, Relator next
analyzed a subset of claims for common inpatient attending physicians that treated at least 10
patients that later were discharged to both Laufer facilities and to other SNFs. Across this subset
of claims, the average days of Ultra High Rehab for patients that were treated at Laufer facilities
was 32.82 days, compared to 17.09 days at other facilities.

88. The graphs in Figure 17 show that out of 380 common inpatient attending
physicians, 372 (97.9%) had more days of Ultra High Rehab at Laufer facilities than at other
facilities. This includes one doctor whose patients on average had 55.01 days of Ultra High Rehab
when treated at Laufer facilities, but only 5.07 days of Ultra High Rehab on average when treated
at other facilities. Panel A shows the sheer number of doctors whose patients had higher rates of
Ultra High Rehab at Laufer facilities versus other facilities, whereas Panel B shows the distribution

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of days of Ultra High Rehab by inpatient attending physician, illustrating Laufer facilities’
significantly higher amounts of Ultra High Rehab even for the same physician at different

facilities.

Figure 17. Inpatient Attending Physician Days of Ultra High Rehab at Laufer and Other Facilities.

Panel A of the following figure shows, for each inpatient attending physician sending patients to both Laufer facilities
and other facilities, the average Ultra High Rehab treatment length for patients sent to Laufer versus non-Laufer
facilities. Panel B compares the distributions of the averages at Laufer versus non-Laufer facilities.

Panel A: Scatterplot of Average Ultra High Rehab by Inpatient Attending Physician

 

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Mean Days of Ultra High Rehab at Other Facilities

 

 

 

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Mean Days of Ultra High Rehab at Laufer Facilities

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Panel B: Distribution of Days of Ultra High Rehab by Inpatient Attending Physician

 

 

 

 

Density

 

 

 

 

 

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Mean Days of Ulira High Rehab

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89, This analysis shows that the excessive Ultra High Rehab at Laufer facilities cannot
be attributed to the patients’ inpatient hospital stay prior to their SNF visit. Specifically, the
fraudulent activity was not caused by the referring inpatient hospital itself, nor the attending
physician during the inpatient hospital stay.

F. Unique Characteristics of Laufer Facility Patients do not
Account for Excessive Ultra High Rehab

90. Relator also considered whether it might be something else about Laufer facility
patients that could justify their greater amounts of Ultra High Rehab. Although Relator already
considered a variety of patient characteristics in the fixed effect linear regression model, Relator
also analyzed the subset of patients that were treated both at Laufer facilities and at least one other
SNF. For this subset of patients, the average patient receives 25.07 days of Ultra High Rehab when
attending Laufer facilities, and only 13.23 days of Ultra High Rehab when at another SNF.

9}. Figure 18 shows that out of 163 patients with at least 3 stays at Laufer facilities and

at least 3 stays non-Laufer facilities, 113 (or 69.3 percent) were billed at higher amounts of Ultra
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High Rehab when visiting Laufer facilities. Panel B of Figure 18 shows the distribution of the days

of Ultra High Rehab for the patients admitted to both Laufer and other facilities.

Figure 18. Days of Ultra High Rehab for Patients Admitted to Both Laufer aud Ofher Facilities.

The following figures show the analysis for patients thal were treated at least 3 times at Laufer facilities and at least 3
times at non-Laufer facilities. Panel A plots one point for each patient and shows the average days of Ultra High Rehab
at Laufer facilities on the x-axis and at other facilities on the y-axis. The size of the dot corresponds to the number of
patient stays at Laufer facilities. Panel B compares the distribution of the average Ultra High Rehab treatment lengths
for these patients’ stays at Laufer facilities versus at non-Laufer facilities. The graphs are based on more than 500
patient admissions at Laufer facilities and more than 700 admissions at other facilities for 163 common patients.

Panel A: Scatterplot of Average Ultra High Rehab by Common Patient

 

 

 

 

 

 

 

 

 

 

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Mean Days of Ultra High Rehab at Laufer Facilities

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Panel B: Distribution of Days of Ultra High Rehab by Connon Patient

 

 

 

 

 

 

 

40 60
Mean Days of Ultra High Rehab

@ Laufer FacilitiesMiNon-Laufer Facilities

92, Even when the same patient is treated at a Laufer facility and another facility, the
patient receives higher rates of Ultra High Rehab when treated at Laufer 69.3 percent of the time.
The probability this is due to random chance is less than 1 in 835 thousand. Thus, the excessive

Ultra High Rehab is not due to patient characteristics but to unique practices in place at Laufer

facilities.
G. Summary of Determining What Caused the Excessive Ultra
High Rehab
93. Relator has considered a number of potential explanations above to determine what

phenomenon or which institution or actor could be responsible for the high amounts of Ultra High
Rehab at Laufer facilities. The excessive use of Ultra High Rehab is highly significant across 57
inpatient diagnosis groups and 9 Laufer facilities, indicating that it is not driven by a particular
patient medical characteristic nor only a few Laufer facilities. Relator eliminated the possibility
that the excessive Ultra High Rehab might be justified by or due to patient characteristics, medical
diagnoses or treatment, overseeing physician preferences, patient population at referring hospitals

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or inpatient physician behavior. Based on this, Relator has demonstrated that the only plausible
explanation as to the cause of the excessive Ultra High Rehab reimbursements is that Laufer
facilities as a system have implemented practices to fraudulently maximize the amount of rehab it
can bill to Medicare, beyond what is reasonable and necessary.

4, Laufer Keeps its Patients and Provides Skilled Nursing Services
Longer than Necessary

A. Laufer Facilities Consistently Provides an Excessive Length of
Stay for Patients Across Principal Diagnosis Groups

94. In addition to providing excessive Ultra High Rehab during the length of stay, the
evidence indicates that Laufer facilities are keeping their patients longer than necessary.** Relator
evaluated whether Laufer facility patients needed skilled nursing care during the entirety of their
stay at its facilities, or if the length of stay was excessive and unnecessary. Relator examined
whether there was also excessive length of stay for patients by examining specific medical
conditions upon admission. For the same 57 principal diagnosis categories analyzed previously,
Relator found that Laufer facilities keep patients for longer than other SNFs for all 57 of those
diagnoses, indicating that Laufer facilities keep patients longer than needed for a given medical
condition. For example, nationwide, the average patient with Pneumonia; Organism Unspecified
will end up receiving approximately 27 days of skilled nursing care, whereas the average patient
with Fracture of the Neck of Femur (hip) will end up receiving approximately 35 days of skilled
nursing care at an SNF. Relators method incorporates this expectation that certain diagnoses might
require greater amounts of skilled nursing care on average.

95. Laufer facilities’ excessive length of stay across a variety of principal diagnosis

code groups is demonstrated in Figure 19. Panel A shows average length of stay at a Laufer facility

 

38 Length of stay in this section is calculated based on the total days an SNF billed for a patient’s skilled nursing
services on a given patient admission, This measure does not count days in which the patient stayed at a facility but
the facility was not reimbursed.

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on the x-axis (horizontal) and the average length of stay at all other non-Laufer SNFs on the y-axis
(vertical). Each dot in Panel A represents a principal diagnosis code group (bin) that patients had
at their prior inpatient hospital stay. The size of the dots is proportional to the number of claims at
the Laufer facility, so that larger dots represent proportionally more claims. If the average length
of stay at the Laufer facility for each diagnosis code were similar to the average length of stay at
other SNFs, then the dots would cluster on the 45-degree line. In Panel A, the red dots to the right
of the 45-degree line show that Laufer facilities had higher lengths of stay for patients in all 57
inpatient principal diagnosis groups. The graph demonstrates that Laufer facilities’ higher
average length of stay is not due to having sicker patients, but rather is widespread even afier
controlling for patient’s hospital diagnosis prior to admission to an SNF. The probability that
random chance explains these many hospital diagnosis groups having patients with higher lengths
of stay at Laufer facilities than among their patients at other facilities is less than less than 1 in 100

million.

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Figure 19, Average Length of Stay for Patients Admitted to Both Laufer and Other Facilities.

Panel A shows, for 57 inpatient principal diagnoses (each represented by a dot), the average length of stay for patients
thus diagnosed at Laufer versus at non-Laufer facilities. We include only diagnoses where at least 100 patients were
thus diagnosed at Laufer facilities. Panel B shows the distribution of average length of stay at Laufer versus at non-
Laufer facilities for each of the principal diagnosis groups.

Panel A: Scatterplot of Average Length of Stay by Inpatient Principal Diagnosis

 

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Mean Days of Length of Stay at Other Facilities
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Mean Rays of Length of Stay at Laufer Facilities

-@ Higher Length of Stay at Laufer Facilities

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Panel B: Distribution of Average Length of Stay by Principal Diagnosis

 

 

 

 

Density

 

 

 

 

 

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Mean Days of Length of Stay

@Laufer FaciliticsllNon-Laufer Facilities

96. To illustrate Laufer facilities’ excessive length of stay, Laufer facilities had 1,027
patients diagnosed with Other Diseases of the Digestive System during their inpatient hospital stay
prior to admission. These patients on average received 38.86 days of skilled nursing care at Laufer
facilities. However, patients at other facilities who were diagnosed with Other Diseases of the
Digestive System only received 25.38 days of skilled nursing care on average.

97, Additionally, for each principal diagnosis code group, Relator calculated the
statistical probability that Laufer facilities’ average length of stay would exceed the nationwide
average length of stay. Relator found that Laufer facilities have statistically significant higher
lengths of stay for patients diagnosed under 57 out of 57 of the principal diagnosis groups. These
principal diagnosis code groups are identified on Table 5, along with the difference in length of
stay and statistical probability. The table is ranked by those diagnoses groups with the most

frequent admission at Laufer facilities, and the probabilities shown in the table demonstrate that

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these differences between Laufer facilities and non-Laufer facilities could not be due to random

chance.

Table 5, Average Length of Stay by Principal Diagnosis Code Group.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ave. AVE. Laufer
# Length of Length of Facility boas
wo : : ws Statistical
Principal Diagnosis Group Admissions Stay at Stay at Rate Significance”
Laufer Laufer Other Relative to
/ Facilities Facilities Others
Unspecified Septicemia 1380 38.21 27.22 140% <1 in 100 Million
Other Diseases of the Circulatory
System 1132 38.02 26.21 145% < Lin 100 Million
Other Diseases of the Digestive
System 1027 38.86 25.38 153% < | in [00 Million
Other Injury and Poisoning 860 45,24 30.16 150% <1 in 100 Million
Osteoarthritis; Localized 356 23,34 16.77 139% <1 in 100 Million
Fracture of Neck of Femur (hip) 735 51.67 35.40 146% <1 in 100 Million
Oller Neoplasins 598 31.62 21.41 148% <1 in 100 Million
Congestive Heart Failure;
Nonhypertensive 589 37.53 24.36 154% <1 in 100 Million
Other Diseases of the
Musculoskeletal System and
Connective Tissue 533 41.04 25,56 161% <1 in 100 Million
Urinary Tract Infection; Site Not
Specified 524 48.23 30.17 160% <1 in 100 Million
Other Endocrine; Nutritional; and
Metabolic Discases and Immunity
Disorders $23 43.97 27.93 157% <1 in 100 Million
Pneumonia; Organism Unspecified 503 40.34 26.58 152% <1 in 100 Million
Rehabilitation Care; Fitting of
Prostheses; and Adjustment of
Devices 482 46.17 37.76 122% <1 in 100 Million
Acute Renal Failure 473 41.76 27.62 151% <1 in 100 Million
Occlusion of Cerebral Arteries 386 46.33 32.79 141% <1 in 100 Million
Other Diseases of the Respiratory
Systein 380 36.99 25.79 143% <1 in 100 Million
Delirium Dementia and Amnestic
and Other Cognitive Disorders 357 50.75 32.39 157% < 1 in 100 Million
Other Diseases of the Nervous
System and Scnse Organs 350 47 43 29.08 163% <1] in 100 Million
Obstructive Chrottic Bronchitis 322 39.79 24.72 161% <1 in 100 Million
Acute Myocardial Infarction 265 37.00 23.88 155% <1 in 100 Million
Infection and Inflammation--
internal Prosthetic Device; Tmplant; <] in 160
and Graft 257 36.35 28,05 130% Thousand
Cellulitis and Abscess of Leg 246 47.85 29,08 165% < | in 100 Million
Respiratory Failure 240 39.98 26.42 151% < 1 in 100 Million
Other Diseases of the Blood and
Blood-forming Organs 239 36.38 25.89 141% <1 in 45 Million

 

 

>° The statistical significance of these represents the probability that the difference between the average length of stay
at Laufer and other facilities is due to random occurrences.

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Ave. AVE. Laufer
# Length of | Length of Facility a
so ' ‘ sos Statistical
Principal Diagnosis Group Admiissious Stay at Stay at Rate Significance”
Laufer Laufer Other Relative to
Facilities Facilities Others
Aspiration Pneumonitis;
Food/vomilus 23) 39,32 28.17 140% <1 in5 Million
Other Mental Illness 229 48.83 32.51 150% <1 in 100 Million
Syncope 225 48.27 28.95 167% <1 in 100 Million
Other Symptoms; Signs; and III-
defined Conditions and Factors < | in 427
Influcncing Health Status 224 38.53 29.28 132% Thousand
Other Diseases of the Skin and < in 847
Subcutancous Tissue 221 43,32 32,58 133% Thousand
Other Infectious and Parasitic <1in5]
Diseases 210 35,56 26,14 136% Thousand
Malfunction of Device; Implant; <1 in 245
and Graft 207 35.76 26.27 136% Thousand
Diabetes with Other Manifestations 207 44.33 29.91 148% <1 in 100 Million
Atrial Fibrillation 196 40.04 25.57 157% <1 in 100 Million
Hypovolemia 193 49.82 29.46 169% <{ in 100 Million
Hemorrhage of Gastrointestinal
Tract 179 40.35 26.84 150% <1 in 75 Million
Osteoarthritis; Generalized and
Unspecified 177 25.16 17.69 142% <1 in 5 Million
Fracture of Vertebral Column
Without Mention of Spinal Cord
Injury 177 46.85 30.35 154% < | in 100 Million
Fracture of Pelvis 164 49.91 33.34 150% < | in 100 Million
Intestinal Infection 159 41.36 26.25 158% <1 in 100 Million
Other Diseases of the Genitourinary
System 157 39.59 26.95 147% <1 in 4 Million
Epilepsy 152 43.48 29.10 149% <1 in 29 Million
<1 in 143
E. Coli Septicemia 145 39.97 27.48 145% Thousand
Other Intracranial Injury 145 48,19 28.96 166% <1 in 100 Million
Other Councctive Tissue Discase 140 50.89 30.41 167% <1 in 100 Million
<1 in 763
Postoperative Infection 140 40.44 28.54 142% Thousand
Pathological Fracture 139 45.47 29.27 155% <1 in 43 Million
Alcohel-related Disorders 135 36.83 23.37 158% <1! in2 Million
<J in 16
Other Gram Negative Septicemia 134 38.20 27.29 140% Thousand
Hypertensive Heart And/or Renal <1 in73
Disease 131 36.50 25.13 145% Thousand
Staphylococcal Septicemia 127 36,68 27.30 134% <1 in | Thousand
Congestive Heart Failure 124 35,35 25.34 140% <1 in 8 Thousand
Other Residual Codes; Unclassified;
All E Codes 122 46.80 29.35 159% <1 in [00 Million
<{fin32
Fracture of Humerus 120 48.94 37.14 132% Thousand
Other Venous Embolism and
Thrombosis 120 38.90 28.67 136% <1 in 2 Thousand
Other Fracture of Lower Limb {1 59,46 39.69 150% <1 jin 100 Million
Transient Cerebral Ischemia lil 46.41 28.71 162% <1in 100 Millfon

 

 

 

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AVE. Avg. Laufer
# Length of Length of Facility vat
oe : : or Statistical
Principal Diagnosis Group Admissions Stay at Stay at Rate Sionificance”
Laufer Laufer Other Relative to B
Facilities Facilities Others
Other Nervous System Symptoms
and Disorders 102 51.84 27.70 187% < tin 100 Million

 

98. The excessive length of stay is notable across all claims in the aggregate as well.

Figure 20 shows the distribution of the length of stay for all patients at Laufer versus other non-

Laufer facilities. As shown in the figure, Laufer facilities’ distribution of length of stay is higher

than the non-Laufer facility distribution, demonstrating that Laufer facilities keep their patients

longer than other facilities, For example, 52.13% of Laufer facility patients stay at least 30 days,

compared to 34.49% of patients at non-Laufer facilities.

Figure 20. Proportion of Patients by Length of Stay.
This figure shows the percentage of patients receiving at least a given length of stay specified on the x-axis. Laufer

facilities’ distribution is in red and non-Laufer facilities are in blue.

100% 4-2 | oe a

 

15% 7

 

 

50% 7

X Days of Length of Stay

 

25%

Proportion of Patients with at Least

 

 

 

 

 

 

 

 

0% 4
0 30

60
Days of Length of Stay

= Laufer Facilities Non-Laufer Facilities

99. The presence of excessive length of stay at Laufer facilities is even more notable

for patients with higher lengths of stay. Specifically, 7.41% of patients at Laufer facilities stay for

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at least 100 days, whereas 2.36% of patients at other facilities stay for 100 days or more, meaning
Laufer facilities have 3.14 times as many patients receiving 100 days or more of skilled nursing
services. Similarly, 27.86% of patients at Laufer facilities stay at least 60 days, whereas only
10.49% of patients at other facilities stay at least 60 days. The probability that these differences
are due to random chance are both less than 1 in 100 million. This evidence indicates that Laufer
facilities’ length of stay is excessive and they are keeping patients an unnecessarily long number
of days in their facility.

B. The Excessive Length of Stay is Systemic Across Laufer
Facilities and not Limited to a Few Facilities

100. To consider whether the excessive length of stay is limited to a few facilities or a
systemic issue, Relator also analyzed trends for individual Laufer facilities and compared them to
other individual SNFs. Figure 21 shows the average length of stay provided to patients at all
facilities in the United States and is ordered from facilities with the shortest length of stay to the
longest. As shown in the figure, the trend of excessive length of stay is prevalent across Laufer
facilities (presented in red). All 9 Laufer facilities are in at least the 80th percentile of all facilities
based on average length of stay. Out of more than 15,000 facilities with at least 100 Medicare
patients, Laufer has 8 facilities in the top 2,000 facilities. It is difficult to overstate how impossible
it would be for this scenario to exist due to random chance. The probability of Laufer having 8 out
of 9 facilities in the top 2,000 occurring randomly is less than 1 in 1 million,” meaning the behavior
cannot be attributed to a few rogue facilities, but is instead systemic and consistent throughout the
Laufer system. This indicates that the unreasonable and unnecessary length of stay at Laufer

facilities is due to directives from the Laufer system.

 

40 This statistical probability is based on a uniform distribution. For example, since there are more than 15,000 SNFs,
the top 2,000 facilities would be equivalent to the top 13.21% of facilities. Hence, we should only expect that 13.21%
of Laufer’s 9 facilities, or ouly 1.2 of its facilities, should be among the top 2,000 facilities, as opposed to 8 Laufer
facilities, which we observe.

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Figure 21, Distribution of Average Length of stay by Individual SNF.

The following figure shows, for every SNF that treated at least 100 patients, the average number of Ultra Digh Rehab
treatment days across all patients in that facility. Laufer facilities are highlighted in red. This graph comprises more
than 15,000 SNFs.

 

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Mean Length of Stay

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20% 30% 40% 50% 60% 70% 80% 90%
Percentile

| Laufer Facility | Non-Laufer Facility

Cc. Patient Characteristics and Demographics do not Explain the
Excessive Length of Stay at Laufer facilities

101. Relator also considered whether the extra length of stay could be attributed to a
variety of other factors, including patient characteristics such as age, gender, and race, county-
level demographic-factors such as unemployment rate, and patient health characteristics such as
principal diagnosis code, secondary diagnosis codes, and whether the patient had surgery. To do
this, Relator ran the fixed effect linear regression model discussed in Equation | on page 33. For
this regression, Relator used the patient’s total length of stay as the dependent variable to caiculate
Laufer facilities’ precise impact on a patient’s projected length of stay. This regression allowed
Relator to isolate the impact that being treated at a Laufer facility would have on a patient’s
expected length of stay at an SNF. For example, Relator has found that, given two patients with
the same age and gender, from the same county, with the same principal and secondary diagnoses

from their prior hospital inpatient stay, same surgery status, and hospital inpatient same length of

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stay, the Laufer facility patient would have a length of stay that is on average 13.82 more days
longer than the patient at a non-Laufer facility.

102. The results of the regression are shown in Table 6. The Laufer coefficient for length
of stay is 13.82. This means that after controlling for the characteristics included in Equation | on
page 33 above, patients at Laufer facilities can be expected to be treated an extra 13.82 beyond the
length of stay at other facilities. This result is highly statistically significant with the probability
that this observed difference is due to random chance being less than 1 in 100 million. The
regressions demonstrate that the length of stay at Laufer facilities is extremely outside of the norms
of what is acceptable and reasonable in industry for patients with similar characteristics.

Table 6. Results of Fixed Effect Linear Regression Model for Length of Stay
Relator used a linear regression to analyze approximately 13 million admissions at Laufer and other SNFs. The results

are presented in the following table. The coefficient is listed first and the p-value is in parenthesis, which represents
the statistical significance of the coefficient. A lower p-value means the result is more statistically significant.
Coefficients were not included for categorical variables and instead are labeled with a “Yes” fo indicate the variable
was controlled for in the regression, The Laufer coefficient is added to the length of stay at other facilities to get the
expected Laufer facility length of stay after including controls,

Regression Coefficients
(See description in table header)

 

 

-0.0159
Sov 7
Poverty Rate (<0.0001)
-0.1513
Unemployment Rate (<0.0001)
. -1.4186
Log Median Income (<0.0001)
. . 0.1932
Ia LD >
No High School Diploma Rate (<0,0001)
Season Control Variables Yes
Age Control Varialsles Yes
Sex Control Variables Yes
Inpatient Length of Stay x Inpatient Y
. . ; €8
Principal Diagnosis Category
Inpatient Surgical DRG x Inpatient vi
soot . : es
Principal Diagnosis Category
Inpatient Secondary Diagnosis r
. Yes
Categories
RUCC Control Yes
Laufer Facilities Coefficient for 13.82
Unexplained Length of Stay {<0.0001)
Other Facilities Average 28.05
Laufer Facilities Calculated Effect 41.87

72

 
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Laufer Facilities Relative Effect 149.27%

 

103. Another regression method to estimate Laufer facilities’ effect on length of stay is
to estimate the regression without the skilled nursing chain variable and create an estimate of the
expected length of stay for each individual claim. For each skilled nursing chain, the average
difference between the predicted length of stay from the regression and the actual length of stay
billed on the claim is calculated, which is referred to as a residual. The difference between these
two values represents the unexplained length of stay that is caused by each skilled nursing chain,
Figure 22 shows the average unexplained length of stay for each skilled nursing chain, with Laufer
facilities plotted in red. Laufer facilities’ average unexplained length of stay by this measure is
13.72 days, making it the 2nd highest among all skilled nursing chains with at least 5,000 claims.

Figure 22. Average Unexplained Length of Stay for SNI Chaius.

The following figure plots the results of the regression from Equation 1, but run without the Laufer fixed effect variable
and with the dependent variable of length of stay. All other variables included were the same. The regression was run
based on 319 SNF chains with at least 5,000 patient admissions from 2011 through 2016Q3. The small vertical lines
off of the point estimates represent the confidence interval for the systems’ unexplained Ultra High Rehab. Since
chains with at least 5,000 admissions were included, the large number of claims result in small confidence intervals.

 

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5 Laufer Facilities ¢

 

10

 

 

 

 

 

 

 

Average Unexplained Ultra High Rehab

 

 

 

 

 

 

 

 

 

 

 

 

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5
f
-10
s
-15 f
0% W% 20% 30% 40% 50% 60% 10% 80% H% 100%

Percentile
'¢ Other SNF Chains' + Laufer Facilities

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104. This evidence indicates that not only are Laufer facilities providing excessive Ultra
High Rehab, but Laufer facilities are also keeping patients longer than necessary. These results are
statistically significant at an extremely high level and cannot be explained by other patient and
demographic characteristics.

D. Attending Physicians are not Responsible for the Excessive
Length of Stay

105. Relator also considered whether the extra length of stay could be caused by the
preferences or treatment decisions of physicians who work with patients at Laufer’s facilities as
opposed to some system-wide decision or corporate directive. To address this, Relator analyzed
the subset of claims for physicians who worked at both a Laufer facility and other non-Laufer
facilities, to determine whether their patients receive statistically longer lengths of stay at Laufer
facilities than at other non-Laufer facilities. Across all admissions involving doctors that treat at
least 10 patients at both Laufer and other facilities, patients at Laufer facilities have an average
length of stay of 41.85 days, whereas patients treated by the same doctors at non-Laufer facilities
have an average length of stay of only 29.95 days. This means that when the same doctor oversees
patients at both Laufer and non-Laufer facilities, the patients at Laufer facilities have a length of
stay that is 11.90 days longer on average, or 39.73 percent longer.

106. Analyzing each common doctor individually further demonstrates how it is Laufer
facilities, not doctors, that is responsible for excessive length of stay. As shown in Figure 23, out
of 63 doctors who treated at least 10 patients at both Laufer and other non-Laufer facilities, 57
(90.5 percent) had higher average length of stay at Laufer facilities than at their other facilities.
The probability that random chance explains these many doctors having patients with higher
lengths of stay at Laufer facilities than among their patients at other facilities is less than 1 in 100

million.

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Figure 23. Attending Physician Average Length of Stay at Laufer Versus Other Facilities.

The following figures show the comparison of average length of stay associated with physicians who treated at least
10 patients at Laufer facilities and other facilities. Panel A plots one point for each attending physician, and shows the
average length of stay at Laufer facilities on the x-axis and at other facilities on the y-axis. The size of the dot
corresponds to the number of patients the doctor treated at a Laufer facility. Panel B compares the distribution of the
average length of stay for these doctors at Laufer versus non-Laufer facilities, The graphs are based on more than
12,000 patient admissions at Laufer facilities and approximately 24,000 patient admissions at other facilities for 63

common doctors.

Panel A: Scatter Plot of Average Length of Stay by Attending Physician

 

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Mean Days of Length of Stay at Other Facilities
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Si 4
20 30 40 "0 60

Mean Days of Length of Stay at Laufer Facilities

@ Higher Length of Stay at Laufer Facilities) ®'Lower Length of Stay at Laufer Facilities
I Pog

75

 
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Panel B: Distribution of Average Length of Stay by Attending Physician

 

 

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0.00
30 40 59

Mean Days of Length of Stay

@ Laufer FacilitiesMiNon-Laufer Facilities

107. Thus, the excessive length of stay provided to patients at Laufer facilities cannot be
explained by the professional opinion or jud gment of the attending physicians serving at the Laufer
facility, but is instead due to system-wide practices in place at Laufer facilities through corporate
policies or directives.

5. Economic Damages

108. Relator employed a robust and conservative methodology to quantify the economic
damages caused by Laufer facilities’ (raudulently excessive Ultra High Rehab. Such analysis
shows that the amount of Ultra High Rehab provided to patients is unnecessary and unreasonable,
and in many cases, the patients did not need skilled nursing care for the entirety of their admission.

109. Relator has limited this complaint to only the most extreme cases—i.¢., for inpatient
diagnosis categories in which Laufer facilities billed for Ultra High Rehab at least two times the

rate of other facilities or at least 5 more days on average. Additionally, only results that were

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statistically significant at a rate of at least 1 in 1,000—or almost certainly not random-—were
considered fraudulent.

110. To calculate damages, Relator compared Laufer facilities’ average days of Ultra
High Rehab to the average days of Ultra High Rehab at non-Laufer facilities, then multiplied those
excessive days of Ultra High Rehab by the additional revenue per day Laufer facilities received
by billing for Ultra High Rehab. To determine this additional revenue per day that Laufer facilities
received for Ultra High Rehab, Relator first calculated the average per diem rate at Laufer facilities
for each rehab category as shown in Table 7.4! The values in the table enable Relator to calculate
the additional revenue Laufer facilities received for Ultra High Rehab relative to different levels
of therapy, ranging from a high of $584.23 per day when compared to a patient who should have
been discharged to a low of $112.70 per day when compared to a patient should have received

Very High Rehab.”

Table 7. Per-diem reimbursement by category
The foltowing table shows the weighted average reimbursement for each category of rehab, based on the 2011-2016

SNF reimbursement schedule. Payments were weighted based on Laufer facilities’ distribution of claims among all of
the RUGs.

 

Category Therapy Amount Average Per Diem Rate
Ultra High Rehab 720+ minutes per week $584.23
Very High Reliab 500 — 720 minutes per week $471.53
High Rehab 325 — 499 minutes per week $417.59
Medium Rehab 150 — 324 minutes per week $370.79
Low Rehab 45 — 150 minutes per week $363.61
No Rehab Less than 45 minutes per week $438.33

11]. Next, to determine the specific amount of therapy that would have been provided
at Laufer facilities had they not fraudulently billed for excessive Ula High Rehab, Relator

calculated the average amounts of Very High Rehab, High Rehab, Medium Rehab, Low Rehab

 

4l These amounts are calculated before any adjustments to Laufer facilities’ payments based on geographic or other
factors. As a result, this allowed Relator to calculate only the marginal revenue that is obtained by moving up to higher
categories, independent of regional adjustments which Laufer facilities would get regardless.

“2 To calculate the additional revenue from Ultra High Rehab for a patient who should have received Very High Rehab,
we take the difference between the average per diem rates for the two levels of therapy: $584.23 - $471.53 = $112.70.

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and No Rehab billed at non-Laufer facilities for each day of stay, given a particular inpatient
principal diagnosis. Then, Relator reallocated Laufer facilities’ excessive days of Ultra High
Rehab to the lower therapy levels as determined by the average amounts at non-Laufer facilities,
starting with Very High Rehab and working down towards the lower categories of rehab until the
remaining days represent days in which the patient should not have remained in the SNF. Since
Relator determined with statistical significance that Laufer facilities excessively provides a longer
length of stay across all 57 principal diagnosis code categories, Relator assigned any remaining
days of Ultra High Rehab to excessive length of stay, meaning the patient should have been
discharged.

112. Once the extra days have been allocated to the lower rehab categories, Relator used
the average payment difference between Ultra High Rehab and the other categories from Table 7
to calculate the additional revenue obtained per patient per day due to the Ultra High Rehab.
Relator then multiplied the additional revenue per patient day by the number of excessive days of
Ultra High Rehab Laufer facilities provided, which yielded the total additional revenue Laufer
facilities made per claim.

113. Since a portion of the patient’s stay beyond 20 days requires an average coinsurance
payment of $150.75,* other payers would also be defrauded when the patient was kept in the SNF
longer than when medically necessary. The coinsurance could be covered by another form of
insurance, such as Medicaid, or paid directly by the individual beneficiary to the facility. Relator
calculated the additiona! dollar value of the coinsurance Laufer facilities would have received on
its false claims for unnecessary Ultra High Rehab provided after the 20th day of the benefit period.

Relator removed these amounts from the damages calculated against Medicare.

 

43 This represents the average coinsurance from 2011 through 2016.
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114. The total value of the fraud committed against Medicare totaled $129.15 million,
representing $392.78 per patient per day among Laufer facilities’ fraudulent claims, Laufer
facilities also submitted false claims to Medicaid in an amount to be proven at trial, which arose
from coinsurance payments on Laufer facilities’ excessive rehabilitation that lasted longer than 20
days.** These damages will increase as long as Defendants’ fraud is allowed to continue.*®

115. It should be noted that Relator’s analysis is also conservative because it compares
Laufer facilities to all other SNFs receiving Medicare reimbursements, which includes a number
of SNFs that have already settled with the US Department of Justice for the same type of fraud
Relator is alleging in this complaint.*° Incidentally, these are facilities that the Relator’s
methodology also identified as engaging in fraudulent billing. Therefore, the existence of the
fraudulent claims submitted by these systems, along with other potentially fraudulent claims from
other systems, causes the Relator’s calculation of the amount of fraud to understate the true amount
of fraudulent reimbursement billed by Laufer facilities. Additionally, Relator only calculated
damages from the excessive length of stay for the days in which the patient received Ultra High
Rehab. Patients continue receiving rehab and other skilled nursing services during the excessive
length of stay, and including these extra days in the damage calculation would increase the total
damages. Nevertheless, the damage numbers are estimates and could change based on

consideration of additional tnformation.

 

44 Tf the Laufer facilities?’ Medicare patients were dual enrolled in Medicaid at a similar rate to the county-level
averages, then 16.06% of the Laufer facilities’ patients would be on Medicaid and 16.06% of copayments would be
paid by Medicaid. This would total an additional $4.16 million in damages to Medicaid. If the Laufer facility had a
higher proportion of Medicaid patients or its dual enrolled patients stayed longer than Medicare-only patients on
average, then damages to Medicaid would increase. Relator used the Alf County-Level Profiles (2012 Data), which
was produced by Medicare-Medicaid Coordination Office and is available at https://goo.gl/4tu6wh.

45 As noted previously, only claims for patients admitted prior to October 1, 2016 were analyzed by the Relator to
allow for analysis of the patient’s entire length of stay. Relator also analyzed the associated inpatient hospital claims
data from CMS for the SNF patients.

46 For example, the comparison list of facilities includes claims filed by Life Care Centers of America Inc. and Kindred
Healthcare Inc., which settled with the Department of Justice for $145 million and $125 million respectively over
altegations that these organizations were providing excessive therapy fo maximize reimbursement.

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116. Relator’s consideration of other possible explanations, such as claim
characteristics, patient characteristics, and doctor practices, demonstrates that the excessive Ultra
High Rehab practices were intentionally implemented by Laufer facilities across the facilities in
their system. Additionally, the extremely high levels statistical significance of the analyses across
a variety of comparative settings indicate a nearly impossible probability that the practices are due
to random chance. Thus, Relator’s damage estimate of $129.15 million for Laufer facilities’
fraudulently excessive Ultra High Rehab is robust when controlling for a variety of factors.

CAUSE OF ACTION

Violation of the False Claims Act, 31 U.S.C. § 3729(a)
(Against All Defendants)

117. Relator repeats and realleges every allegation contained above as if fully set forth
herein.

118. Asdescribed above, Defendants have submitted and/or caused to be subinitted false
or fraudulent claims to Medicare and Medicaid by falsifying information concerning the amount
and duration of rehabilitation needed by and/or provided to patients; and by failing to report and
return overpayments from Medicare and Medicaid within the required time.

119. Defendants, by the conduct set forth herein, have violated:

a. 31 U.S.C. § 3729{a)(1)(A) by knowingly presenting, or causing to be
presented, false or fraudulent claims for payment or approval; and/or

b. 31 U.S.C. § 3729(a)(1)(B) by knowingly making, using or causing to be
made or used, a false record or statement material to a false or fraudulent
claim; and/or

c, 31 U.S.C. § 3729(a)(1)(G) by knowingly making, using, or causing to be

made or used, a false record or statement material to an obligation to pay or

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transit money or property to the government, or knowingly concealing or
knowingly and improperly avoiding or decreasing an obligation to pay or
transmit money or property to the government.
120. The United States has suffered and continues to suffer damages as a direct
proximate result of Defendants’ false or fraudulent claims.
PRAYER FOR RELIEF
WHEREFORE, Relator prays for relief and judgment, as follows:
a. Defendants pay an amount equal to three times the amount of damages the
United States has suffered because of Defendants’ actions, plus a civil
penalty against Defendants of not less than $10,957 and not more than

$21,563 for each violation of 31 U.S.C. § 3729;

b. Relator be awarded the maximum amount allowed pursuant to 31 U.S.C. §
3730(d);
c. Relator be awarded all costs of this action, including attorneys’ fees,

expenses, and costs pursuant to 31 U.S.C. § 3730(d); and
d. Relator and the United States be granted all such other relief as the Court
deems just and proper.
JURY TRIAL DEMANDED

Relator hereby demands a trial by jury.

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DATED: December 1, 2017

Respectfully submitted,

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